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      MARYDELL GUEVARA                                                                               August 05, 2016
      FULFORD vs. MIAMI-DADE COUNTY                                                                              1–4
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      ·1·   · · · IN THE UNITED STATES DISTRICT COURT                ·1· · · · · · · ·INDEX OF PROCEEDINGS
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      ·7·   SHERVIN FULFORD,
      ·8·   · · · · · ·Plaintiff,                                    ·6
      ·9·   vs.                                                      ·7
      10·   MIAMI-DADE COUNTY,                                       ·8
      11·   · · · · · ·Defendant.                                    ·9· · · · · (EXHIBITS RETAINED BY COUNSEL)
      12·   _________________________                                10
      13                                                             11
      14·   · · · · DEPOSITION OF MARYDELL GUEVARA
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      15·   · · · · · · · · ·Pages: 1-161
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      16
                                                                     14
      17·   ·   ·   · · · ·Friday, August 5th, 2016
      · ·   ·   ·   · · · · 1:00 p.m.- 5:45 p.m.44                   15
      18·   ·   ·   ·Esquire Deposition Solutions - Miami            16
      · ·   ·   ·   · · · · 44 West Flagler Street                   17
      19·   ·   ·   · · · · · · · 14th Floor                         18
      · ·   ·   ·   · · · · ·Miami, Florida 33130                    19
      20                                                             20
      21
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      22
                                                                     22
      · ·   · · · · ·Stenographically Reported By:
                                                                     23
      23·   · · · · · · · ·STACY A. BOFFMAN
      24                                                             24
      25                                                             25

                                                            Page 2                                                    Page 4
      ·1· · · · · · · · · · APPEARANCES                              ·1· · · · ·Deposition taken before Stacy A. Boffman,
      ·2
                                                                     ·2· Florida Reporter and Notary Public in and for
      · · On behalf of the Plaintiff:
                                                                     ·3· the State of Florida at Large, in the above
      ·3· RICHARD B CELLER LEGAL- DAVIE
      · · 7450 GRIFFIN ROAD, SUITE 230                               ·4· cause.
      ·4· DAVIE, FLORIDA 33314                                       ·5· · · · · · · · · ·- - - - - - -
      · · BY: NOAH STORCH, ESQUIRE                                   ·6· · · · ·THE COURT REPORTER:· Do you swear or
      ·5                                                             ·7· affirm the testimony you give today will be the
      ·6                                                             ·8· truth, the whole truth, and nothing but the
      ·7· On behalf of the Defendant:
                                                                     ·9· truth?
      · · MIAMI-DADE COUNTY
      ·8· BY: JOANIE MOSELY, ESQUIRE,
                                                                     10· · · · ·THE WITNESS:· Yes.
      ·9                                                             11· THEREUPON,
      10                                                             12· · · · · · · · ·MARYDELL GUEVARA
      11                                                             13· having been first duly sworn, was examined and
      12                                                             14· testified as follows:
      13
                                                                     15· · · · · · · · DIRECT EXAMINATION
      14
      15
                                                                     16
      16                                                             17· BY MR. STORCH:
      17                                                             18· · ·Q.· Good afternoon, Ms. Guevara.· Could you
      18                                                             19· please state your name and spell your last name?
      19                                                             20· · ·A.· Sure.· Marydell Guevara, G-U-E-V-A-R-A.
      20
                                                                     21· · ·Q.· Thank you.· My name is Noah Storch, and I
      21
                                                                     22· represent Mr. Fulford in this case.
      22
      23                                                             23· · ·Can you tell me are you currently employed by
      24                                                             24· Miami-Dade Corrections?
      25                                                             25· · ·A.· No.· I'm not.· I'm retired.


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      ·1· · ·Q.· Wow.· That's wonderful.· One day I'll get   ·1· was a change.· They removed the deputy
      ·2· there.· Hopefully when I win the Powerball.        ·2· director's position and downgraded it to
      ·3· · ·When did you retire?                            ·3· assistant director.
      ·4· · ·A.· May 31st of this year, 2016.                ·4· · ·Q.· Okay.
      ·5· · ·Q.· And can you tell me when -- give me a       ·5· · ·A.· So as an assistant director there was
      ·6· little bit of background about your employment     ·6· three or four of us.· And so if the director was
      ·7· with Miami-Dade Corrections.· When did you first   ·7· absent, it would rotate.
      ·8· become employed by them?                           ·8· · ·Q.· Let me ask you this question.· When you
      ·9· · ·A.· I became employed June of 1983.             ·9· say it would rotate, would it be whatever
      10· · ·Q.· Okay.· In what capacity?                    10· assistant director was on that day, or were all
      11· · ·A.· I started as a correctional officer, and    11· three, or four assistant directors working at
      12· through the years I came up the ranks.· I was a    12· the same time?
      13· correctional corporal, correction sergeant and     13· · ·A.· All of us would work at the same time.
      14· correctional lieutenant and correctional           14· So it would depend on who was most available and
      15· captain.· And then I was appointed to deputy       15· who the director felt he wanted to leave as
      16· director.                                          16· acting director at the time.
      17· · ·Q.· Got it.· When were you appointed to         17· · ·Q.· Okay.· So when the director would leave,
      18· deputy director?                                   18· would he say, okay, Assistant Director Guevara,
      19· · ·A.· I believe -- approximately -- it may have   19· you're the one in charge while I'm out for this
      20· been around July of 2014.                          20· period of time until I come back?
      21· · ·Q.· Who appointed you to deputy director?       21· · ·A.· Yes.· And there would actually be
      22· · ·A.· It was then Director Charles McCray.        22· memorandums written for everyone was aware who
      23· · ·Q.· Got it.· And as deputy director, what are   23· was is in charge.
      24· your -- what were your responsibilities?           24· · ·Q.· Got it.· Do you know why you are here for
      25· · ·A.· The duties included overseeing the entire   25· deposition today?

                                                   Page 6                                                 Page 8
      ·1· department, acting in the position when the        ·1· · ·A.· I have an idea.· Yes.
      ·2· director was out.· Pretty much daily operations.   ·2· · ·Q.· Sure.· Can you tell me why?
      ·3· · ·Q.· Got it.· When the director -- you said      ·3· · ·A.· I know there's a case that Mr. Fulford
      ·4· when the director was out -- is that the only      ·4· had going.· So I believe it's related to that
      ·5· person that you were, I guess, I'll call it        ·5· case.· I haven't had the opportunity to look at
      ·6· reporting to?                                      ·6· anything.· Being retired, I haven't been
      ·7· · ·A.· Yes, sir.                                   ·7· involved in pretty much anything.
      ·8· · ·Q.· The director is the highest position        ·8· · ·Q.· That's wonderful.
      ·9· within Corrections?                                ·9· · ·A.· It is.
      10· · ·A.· That is correct.                            10· · ·Q.· You are making me jealous.
      11· · ·Q.· Okay.· How many directors were there        11· · ·So let's talk about Mr. Fulford before
      12· during your time as deputy director?               12· these -- before March of 2009.· So we can say up
      13· · ·A.· It was Charles McCray, and one interim,     13· until March of 2009.
      14· which was Leonard Burgess and then Director Tim    14· · ·Were you familiar with Mr. Fulford's
      15· Ryan.                                              15· employment up until?
      16· · ·Q.· When did Tim Ryan become director?          16· · ·A.· Specifically, no, sir.
      17· · ·A.· I'll try to recall the dates.· I don't      17· · ·Q.· Okay.· Would you have been familiar with
      18· know.· Retirement has kind of swiped my slate      18· Mr. Fulford's employment had he had disciplinary
      19· clean here.· I believe he came on board --         19· issues, or anything of the like, up until March
      20· approximately, I believe, December of 2005.· It    20· of 2009?
      21· was around there.                                  21· · ·A.· It depends on what level of discipline.
      22· · ·Q.· Okay.· And you said that when he was --     22· The discipline that would get to my level at the
      23· or when any director was not there, you were       23· time would have to be 10-day suspension or
      24· basically the one in charge, correct?              24· greater.· Anything below that would not call my
      25· · ·A.· That is correct.· Now, at one point there   25· attention.


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      ·1· · ·Q.· So it's fair to say that Mr. Fulford did    ·1· you know how that got started?
      ·2· not have a 10-day or greater suspension up until   ·2· · ·A.· I don't recall if it was directed by an
      ·3· March of 2009?                                     ·3· outside party, or if the individual actually
      ·4· · ·A.· I wouldn't be able to recall.· I know I     ·4· went directly to internal affairs.· I don't
      ·5· didn't recognize him until then.                   ·5· recall.
      ·6· · ·Q.· Okay.· Do you know if Mr. Fulford           ·6· · ·Q.· Understood.· When internal affairs gets a
      ·7· received positive or negative evaluations up       ·7· complaint, what is the procedure for sexual
      ·8· until March of 2009?                               ·8· harassment?
      ·9· · ·A.· I don't recall.                             ·9· · ·A.· They would -- as in any complaint that
      10· · ·Q.· Okay.· What is the Department's             10· they get, they will investigate it fully.· They
      11· procedure for handling allegations of sexual       11· will fact find and go talk to any witnesses that
      12· harassment?                                        12· have been identified, pull any information they
      13· · ·A.· If -- it could go several ways.· If an      13· can.· And then they would bring the person in
      14· employee wants to make an allegation regarding     14· who the allegation has been made against and
      15· sexual harassment they have a right to tell        15· actually question them.
      16· their direct supervisor, or they could go          16· · ·Q.· Got it.· So in this case, with regard to
      17· outside of the department to the EEOC.             17· Mr. Fulford, there was some allegations of
      18· · ·If they go to their supervisor,· that           18· sexual harassment that were made against him in
      19· supervisor would then direct the person to go to   19· March of 2009.
      20· internal affairs, or we actually had a fair        20· · ·Does that sound accurate?
      21· employment practice individual that was over       21· · ·A.· Yes.
      22· that area.· And they would also be directed to     22· · ·Q.· Shortly thereafter -- well, let me ask
      23· that person, who would then listen to the          23· you this:
      24· individual, or any other persons they wanted to    24· · ·You stated you don't recall how it got
      25· identify as witnesses, and who they determined,    25· started.· Meaning, you don't recall if the
                                                  Page 10                                                Page 12
      ·1· if there was a sufficient issue.· And then         ·1· complainant went to IA, or if it was outside
      ·2· direct them to internal affairs.· So there's       ·2· that prompted IA?
      ·3· multiple avenues.· If the person was to go         ·3· · ·A.· Right.· That's correct.· I don't recall.
      ·4· outside, we would not be aware until the EEOC      ·4· · ·Q.· At the end of March, or March 26th, 2009,
      ·5· contacted as and then we connect them with         ·5· I have a document that I'm going to show you.
      ·6· internal affairs.                                  ·6· It's a letter or a memorandum from you regarding
      ·7· · ·Q.· Understood.· Can an employee both go to     ·7· a temporary transfer assignment with regard to
      ·8· IA, internal affairs, and to the EEOC at the       ·8· Mr. Fulford.
      ·9· same time?                                         ·9· · ·Could you take a look at this document for
      10· · ·A.· They can.· Once the EEOC contacts us,       10· me.· I'll show it to your lawyer first.
      11· then there has to be a determination of who's      11· · ·A.· Okay.
      12· going to take the lead.· You don't want to, you    12· · ·Q.· Are you familiar?
      13· know, interfere with each others review of the     13· · ·A.· Yes.
      14· case.                                              14· · ·Q.· Okay.· And I'll give it back to you.
      15· · ·Q.· Got it .· So Mr. Fulford, and -- well,      15· · ·According to this memorandum, Mr. Fulford was
      16· let me ask you this:                               16· given a temporary transfer assignment, effective
      17· · ·How did you become aware of some sort of        17· March 26th, 2009.
      18· allegations against Mr. Fulford?                   18· · ·Where he was specifically -- on a temporary
      19· · ·A.· I believe his case went to internal         19· basis, transferred to one facility -- the
      20· affairs, and an investigations was completed.      20· Pretrial Detention Center.· And he was given
      21· And then it went through what's called the         21· a -- he was given specific shifts.
      22· disposition panel.                                 22· · ·It says until further notice, Sergeant
      23· · ·Q.· Okay.· So let me ask you this question --   23· Fulford is restricted to a list of assignments.
      24· · ·A.· Uh-huh.                                     24· · ·Do you see where it says that?
      25· · ·Q.· The case going to internal affairs, do      25· · ·A.· Yes.


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      ·1· · ·Q.· Okay.· Is that proper procedure to          ·1· six month bid.· So we don't change shifts when
      ·2· restrict an employee to a certain facility, and    ·2· you want to change.
      ·3· to a specific shift, when there are allegations,   ·3· · ·Q.· And in all cases of sexual harassment
      ·4· such as those that are made of Mr. Fulford?        ·4· that have come across your desk, I guess,
      ·5· · ·A.· Yes.                                        ·5· because the severity of sexual harassment
      ·6· · ·Q.· Okay.· Where are those procedures           ·6· allegations -- do they all come across your
      ·7· document?                                          ·7· desk?
      ·8· · ·A.· It's not necessarily a documented           ·8· · ·A.· Again, I can't recall if all of them did.
      ·9· procedure.· But it is to protect the integrity     ·9· Because depending on where I was -- if I wasn't
      10· of an investigation.· So if you have any kind of   10· the assistant director of that chain, as the
      11· allegations against someone, specifically,         11· deputy director they would have.· And depending
      12· sexual harassment, you need to remove the          12· on the level of sexual harassment.
      13· alleged, accused person, and the alleged           13· · ·Q.· Got it.· So for the -- but would you
      14· complainant.                                       14· agree with me, that in all sexual harassment
      15· · ·Q.· Was Ms. Christian -- was she removed from   15· cases, that initially the removal of the alleged
      16· the facility, as well?                             16· harasser is something that is done?
      17· · ·A.· No.                                         17· · ·A.· It's pretty standard.· Unless you have
      18· · ·Q.· So then it's only the --                    18· extenuating circumstances.
      19· · ·A.· The alleged.                                19· · ·Q.· Understood.· Is it also, or would you
      20· · ·Q.· -- the alleged harasser that's moved?       20· agree with me that all sexual harassers that are
      21· · ·A.· Yes.· That's correct.                       21· moved, are specifically told that until further
      22· · ·Q.· Is there --                                 22· notice they are being restricted to the listed
      23· · ·A.· No.· I was going to say -- and, again --    23· assignment in their temporary assignment memo?
      24· excuse me.· Because I'm in retired mode.           24· · ·A.· Yes.
      25· · ·I believe we do have some procedures that may   25· · ·Q.· Okay.· Was Marriett Dominguez (Phonetic)
                                                  Page 14                                                Page 16
      ·1· outline that in department standard operating      ·1· -- when she received her temporary transfer
      ·2· procedures regarding sexual harassment about       ·2· memo, was she -- did it specifically state that
      ·3· separating.                                        ·3· she was restricted to the listed assignment?
      ·4· · ·Q.· Certainly.· Why, if you are going to        ·4· · ·A.· I don't recall if it was.· She was moved.
      ·5· remove Mr. Fulford and put him in another          ·5· · ·Q.· Would there be any reason that she would
      ·6· facility -- what is the basis for restricting      ·6· not have been restricted to the listed
      ·7· him to a specific shift?                           ·7· assignment?
      ·8· · ·A.· This is basically -- the assignment is to   ·8· · ·A.· Again, it depends on the circumstances.
      ·9· the facility.· It's not necessarily the shift.     ·9· She was over a bureau.· So the complaints were
      10· And he was moved to the Turner Guilford Knight     10· from a particular bureau and not individuals.
      11· -- when you said pretrial.· He actually left the   11· It depends.· But she was restricted from working
      12· Pretrial for Turner Guilford Knight.               12· that specific bureau.
      13· · ·Q.· My apologies.· It looks like here that he   13· · ·Q.· So she was restricted from working --
      14· was given a specific shift.· The 6:30 a.m. Until   14· when you say bureau, do you mean a specific
      15· 2:30 a.m shift, at TGK; is that correct?           15· location?
      16· · ·A.· Correct.· And the reason that is, because   16· · ·A.· Correct.
      17· he was on day shift at the Pretrial Detention      17· · ·Q.· But do you have any reason to believe
      18· Center.· So part of it is -- you want to move      18· that she was not restricted to a specific shift,
      19· somebody and keep them on the same shift.· You     19· as well?
      20· want to be as minimally destructive as possible    20· · ·A.· I don't recall.
      21· to that individual.                                21· · ·Q.· Okay.· Based on the allegations of sexual
      22· · ·Q.· While he was at the Pretrial Detention      22· harassment against her, should she have been
      23· Center, was he able to twitch switch shifts or     23· restricted to the listed assignment?
      24· change shifts, if he needed to?                    24· · ·A.· You know, it depends on the
      25· · ·A.· No.· They stay on the same shift for a      25· circumstances.· Because you can have a sexual


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      ·1· harassment allegation that has multiple            ·1· · ·Q.· Understood.· Ss the -- I'll call it the
      ·2· witnesses, and IA's or EEOC, or what our FEP       ·2· initial review of the complaint is done pretty
      ·3· person does is vets those and assess it.· It       ·3· quickly, so that you can determine, for example,
      ·4· kind of gives you an idea of the severity of       ·4· if Mike worked at the same time as Sally worked.
      ·5· what the allegations are.                          ·5· And if they did, then you're going to do a
      ·6· · ·Q.· And I understand that.· But the temporary   ·6· temporary transfer to the harasser?
      ·7· transfer assignment, doesn't that come before      ·7· · ·A.· Yes.
      ·8· the IA investigation?                              ·8· · ·Q.· But the substance -- I'll call it -- the
      ·9· · ·A.· It comes after there's been a full          ·9· allegations are not investigated at that time,
      10· assessment of the allegation.                      10· correct?
      11· · ·Q.· Explain that to me.· Because my             11· · ·A.· That's correct.
      12· understanding is, that Mr. Fulford was             12· · ·Q.· Okay.· So if there was merit to the
      13· transferred to two days after the allegations      13· allegations of sexual harassment, against
      14· were made against him.                             14· Ms. Dominguez, she should have been, or would
      15· · ·A.· Uh-huh.                                     15· you agree with me, that she should have been
      16· · ·Q.· So in that two days was IA able to do       16· given a temporary transfer assignment, and
      17· their entire investigation?                        17· restricted to that listed assignment?
      18· · ·A.· No.· They may have gotten a statement       18· · ·A.· Again, it depends on the circumstances.
      19· from· someone that identified -- at least some     19· And it could be something as well as it was not
      20· concern.· So if someone comes in and says:· Hey,   20· put on the transfer order.
      21· Joe Blow sexually harassed me.· The person is      21· · ·Q.· Why would something like that be kept off
      22· called in to give details.                         22· a transfer order?
      23· · ·Q.· When you say -- and I'm sorry for           23· · ·A.· It depends on who writes the transfer
      24· interrupting you.                                  24· order.· It's not a specific reason.· It could
      25· · ·A.· Sure.                                       25· have been just someone left it off of the
                                                  Page 18                                                Page 20
      ·1· · ·Q.· When you say the person.· Just for          ·1· transfer order.
      ·2· clarity of the record, can you say the harasser    ·2· · ·Q.· Understood.· You wrote the transfer order
      ·3· or the victim?                                     ·3· that I showed you for Mr. Fulford.
      ·4· · ·A.· The victim.                                 ·4· · ·Do you know if you wrote the transfer order
      ·5· · ·Q.· Because when we read it back, I'll          ·5· for Ms. Dominguez?
      ·6· forget.                                            ·6· · ·A.· I don't recall.· I know I signed the
      ·7· · ·A.· So the victim comes in and says:· Joe       ·7· transfer order.· I don't write it.· I sign them.
      ·8· Blow sexually harassed me.· And so the victim is   ·8· · ·Q.· Okay.· But would there have been any
      ·9· pretty much sent either to IA or they go to        ·9· reason that she would not have been restricted,
      10· EEOC.· There's some assessment to say when,        10· if there was substance to her sexual harassment
      11· where.· If the victim can't say what location.     11· allegations?
      12· Or the victim says, oh, it was on some day last    12· · ·A.· None that I recall.
      13· year when I worked with Joe Blow, and there's      13· · ·Q.· So then, again, going through the
      14· absolutely no evidence or proof that Joe Blow      14· process, because it's all new to me.
      15· ever worked that assignment, that takes on a       15· · ·A.· Uh-huh.
      16· different connotation.                             16· · ·Q.· Once the temporary transfer assignment is
      17· · ·But, if you look at it, and the victim says     17· made, and the alleged victim and the accused
      18· it was June 14th, at 2:00 p.m., at this site.      18· harasser are in essence split up, what is the
      19· And you pull a rooster, and you find that Joe      19· next step procedurally?
      20· Blow did work with the victim, now that gives us   20· · ·A.· The internal affairs bureau proceeds with
      21· something to go on.· Now, there's some basis to    21· our full investigation.
      22· the allegations.· And that's to protect, pretty    22· · ·Q.· Got it.· So internal affairs -- you
      23· much the person being accused.· You want to make   23· can strike that.
      24· sure that there's something that could've          24· · ·My understanding is, that Sheba Boom
      25· possibly happened.                                 25· (phonetic) conducted the internal affairs


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      ·1· investigation into the allegations against         ·1· · ·Q.· Okay.· Let's go off the record for a
      ·2· Mr. Fulford; is that correct?                      ·2· second.
      ·3· · ·A.· I don't recall.· But it should say it       ·3· · · · · ·(OFF THE RECORD AT 1:39 P.M)
      ·4· there.                                             ·4· · · · ·(BACK ON THE RECORD AT 1:39 P.M.)
      ·5· · ·Q.· So this document is dated July 13th,        ·5· BY MR. STORCH:
      ·6· 2009.                                              ·6· · ·Q.· So the -- does Ms. boom, at the end of
      ·7· · ·Case No. 107-IA-22PTDC-09.· It says from,       ·7· her investigation make any recommendation as
      ·8· Sheba Boom (phonetic), Sergeant, Internal          ·8· to -- I believe the allegations have merit? I
      ·9· Affairs Unit.                                      ·9· don't believe the allegations have merit?
      10· · ·Can you just tell me if that's correct?         10· · ·A.· No.
      11· · ·A.· That is correct.                            11· · ·Q.· So the --
      12· · ·Q.· Perfect.· So that would mean that Sheba     12· · ·A.· That's not the standard.
      13· Boom conducted the IA investigation into           13· · ·Q.· So Ms. boom has absolutely no -- I'll
      14· Mr. Fulford's -- the allegations against           14· call it authority, to make recommendations.· Her
      15· Mr. Fulford?                                       15· job -- and correct me if I'm wrong.· It would be
      16· · ·A.· That identifies it's there.· Yes.           16· to interview witnesses, including the alleged
      17· · ·Q.· Okay.· And we will get into the specifics   17· harasser and the alleged complaint, put together
      18· of it all.· But, again, I just want to kind of     18· a document of what she's told, and then that
      19· keep it to the process.· So IA, by way of Sheba    19· document gets -- goes to the next part of the
      20· Boom, in this case does an investigation.          20· chain, correct?
      21· · ·What does that investigation entail?            21· · ·A.· As the investigator would do the fact
      22· · ·A.· It would entail -- pretty much              22· finding.· There have been times where there can
      23· interviewing anyone that's identified as a         23· make a recommendation not related to the
      24· witness, fact finding, gathering of the fact.      24· allegations against the person.· But if
      25· And then in the end, calling in the subject,       25· something continues to come up related to --
                                                  Page 22                                                Page 24
      ·1· interviewing them and laying out what was found    ·1· let's say a policy of interviewing multiple
      ·2· in that investigation.                             ·2· folks they found out the individuals weren't
      ·3· · ·Q.· Is the alleged harasser -- in this case,    ·3· following certain policies, or the door wasn't
      ·4· Mr. Fulford, is he -- is it protocol to call him   ·4· being kept closed, then they want to make a
      ·5· in last after all of the witness statements, or    ·5· recommendation for that facility supervisor to
      ·6· is it just way of scheduling who's available?      ·6· say -- review the policy of staff recommended.
      ·7· · ·A.· No.· They usually will call the person in   ·7· It's nothing related to the allegations.
      ·8· last.· Unless something else comes up new.         ·8· · ·Q.· It's nothing related to the
      ·9· Usually the subject person is called in last.      ·9· investigations?
      10· · ·Q.· Understood.· After all the witnesses        10· · ·A.· Correct.
      11· state -- oh, let me ask you a question about the   11· · ·Q.· So if anything -- it would just be, hey,
      12· witness statements.                                12· this door is opening, and we're Miami, not
      13· · ·Are the witness statements captured in any      13· Broward.· We don't want anyone to run out of
      14· type of way?                                       14· jail?
      15· · · ·Meaning, is there a video camera?· Is there   15· · ·A.· Correct.· Not nice.
      16· a recording?· Is there a court reporter?· Or is    16· · ·Q.· Okay.· Miami.· Not Broward.
      17· it just -- in this case, Ms. Boom calling in,      17· · ·Okay.· Ms. Boom does the IA investigation.
      18· you know, Michelle Smith and talking, and then     18· Who does she send the document to?
      19· just memorializing what was told to her?           19· · ·A.· The complete IA investigation would then
      20· · ·A.· No.· Usually there's an actual audio        20· go to -- and it's changed.· But the actual
      21· tape, and, or a stenographer present.              21· process has changed over the years.
      22· · ·Q.· Understood.· Do you know if the audio       22· · ·Q.· So let's talk about at that time in July
      23· tapes, and or, stenographer, if those records      23· of 2009?
      24· are kept?                                          24· · ·A.· To the best of my recollection.· I would
      25· · ·A.· They should be kept.· Yes.                  25· have to through that out.

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      ·1· · ·Q.· Sure.                                       ·1· case, investigation?
      ·2· · ·A.· It would either go to -- most likely it     ·2· · ·A.· From a technical, numerical-type of
      ·3· would go to the labor management unit.             ·3· review, it would go through the IA's chain of
      ·4· · ·Q.· Okay.                                       ·4· command.· So the investigator would give it to
      ·5· · ·A.· Who would then distribute it.· They would   ·5· their lieutenant, and or captain for review of
      ·6· receive the actual case, and then they would       ·6· the file, the structure of the file, grammatical
      ·7· distribute it to -- they would log it in, and      ·7· errors, or anything that they felt may have been
      ·8· then they would distribute it to that respective   ·8· left off, or anything they feel needs to be
      ·9· persons chain of command.· No.· I'm sorry. Stop.   ·9· included and they direct us back to that
      10· Reverse.· They would log it in and it would        10· investigator.· So that investigator has a chain
      11· actually go to the disposition panel that's been   11· of command.
      12· identified.                                        12· · ·Q.· Understood.· Do those individuals -- that
      13· · ·Q.· Okay.· Let me ask you this question.· As    13· chain of command -- do they get the audio tapes
      14· far as the labor management unit.· And you --      14· or the transcripts of the interviews?
      15· saying that once labor management gets the         15· · ·A.· Everything is included in that file.
      16· investigation, they distribute it to the           16· · ·Q.· Okay.· So when they get it -- meaning,
      17· disposition panel.· So correct me if I'm wrong,    17· the chain of command, they are -- they have
      18· just by understanding your statement, labor        18· access to everything that Ms. Boom, in this
      19· management is not leading the investigation to     19· case, had access to in preparing the report?
      20· make any recommendations, or are they leading?     20· · ·A.· That is correct.
      21· · ·A.· No.· At that time they do not read it.      21· · ·Q.· Understood.· And we'll get back to that
      22· It simply goes -- and it may not be a stopping     22· in a second.
      23· point.· It may have gone straight to the           23· · ·Can you tell me -- because we were talking
      24· disposition panel.                                 24· about from sergeant -- from lieutenant to
      25· · ·Again, we've changed the process.· But it       25· captain.
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      ·1· would go to the disposition panel, who's the       ·1· · ·Can you tell me the ranking?· I guess, it
      ·2· first group that gets it and goes through the      ·2· starts with an officer?
      ·3· file.                                              ·3· · ·A.· The CO.· Yes.· An officer, corporal,
      ·4· · ·Q.· Understood.· So to the best of your         ·4· sergeant, lieutenant, captain, and actually
      ·5· recollection, if it does -- if the investigation   ·5· captain on up are all appointed positions.· So
      ·6· did go to the labor management unit, it would      ·6· you have a captain.· You have a chief.· You have
      ·7· essentially just be a pass-through?                ·7· an assistant director.· And you have the
      ·8· · ·A.· Pass-through.· Yes, sir.                    ·8· director.· Officer through lieutenant is all
      ·9· · ·Q.· Okay.· I assume that that process is        ·9· classified service.· Captain and up are
      10· probably pretty quick if it's just a               10· appointed positions.
      11· pass-through from labor management to the          11· · ·Q.· Understood.· I understood -- I guess,
      12· disposition panel; is that correct?                12· officers, corporals, sergeant, lieutenant, take
      13· · ·A.· That's correct.                             13· a test -- or do your time, so to speak.· Take a
      14· · ·Q.· Okay.· So generally -- and I know --        14· test.· Move on up.· You can't move on up anymore
      15· correct me if I'm wrong, some cases take longer    15· until you're appointed?
      16· than others; is that correct?                      16· · ·A.· That's correct.
      17· · ·A.· That is correct.                            17· · ·Q.· Who appoints the captains?
      18· · ·Q.· The -- from the time the investigation is   18· · ·A.· The director.
      19· completed by IA, until the time that it goes to    19· · ·Q.· Who appoints the chief?
      20· labor management and then to the disposition       20· · ·A.· The director.
      21· panel, that time should be relatively short?       21· · ·Q.· Who appoints the assistant director?
      22· · ·A.· That's correct.                             22· · ·A.· The director.
      23· · ·Q.· Okay.· By the way, does anyone -- before    23· · ·Q.· Who appoints the director?
      24· the disposition panel gets the investigation --    24· · ·A.· The mayor's office.
      25· does anyone look over Ms. Boom's -- in this        25· · ·Q.· Got it.· Does the mayor's office have


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      ·1· anything to do with the appointment of captain,    ·1· the individual that were known.· That might be
      ·2· chief or assistant director?                       ·2· an issue.· But being a supervisor wouldn't
      ·3· · ·A.· No.                                         ·3· necessarily remove you.
      ·4· · ·Q.· Okay.· Assistant director, that is what     ·4· · ·Q.· And when the IA investigation is sent to
      ·5· you said also was deputy director?                 ·5· the disposition panel, is it on, like, a
      ·6· · ·A.· Yes.· Assistant director, and deputy        ·6· rotation?
      ·7· director -- I'm sorry.· That went away.· But,      ·7· · ·Meaning, okay, one investigation came in and
      ·8· yes.                                               ·8· it goes to first.· The second one came in and it
      ·9· · ·Q.· Okay.· So in -- starting March of 2009,     ·9· goes to the second disposition and so forth?
      10· it was deputy director or assistant director?      10· Is that how it works?
      11· · ·A.· I would have to look.· I really don't       11· · ·A.· Yes.· I believe internal affairs tries to
      12· remember when they transitioned it.                12· keep balance so they won't overwhelm one panel
      13· · ·Q.· Got it.· But the transition was from        13· more than the other.
      14· deputy director to assistant director?             14· · ·Q.· Understood.· So in this case it looks
      15· · ·A.· Yes.                                        15· like the -- well, we will talk specifics after.
      16· · ·Q.· Understood.· And it's assistant director    16· The disposition panel, what do they do?
      17· now?                                               17· · ·A.· They look at the case, and they look
      18· · ·A.· Yes.                                        18· through the allegations.· And they make a
      19· · ·Q.· Okay.· So back to the distribution to the   19· determination of recommending whether the
      20· disposition panel.                                 20· allegations should be sustained, not sustained,
      21· · ·A.· Yes.                                        21· exonerated.· Yeah.
      22· · ·Q.· How is it determined -- let me ask you      22· · ·Q.· Got it.· And --
      23· this; who -- how many people are on the            23· · ·A.· Or unfounded.
      24· disposition panel?                                 24· · ·Q.· And do all three members have to agree on
      25· · ·A.· Three.                                      25· the outcome of each allegation?
                                                  Page 30                                                Page 32
      ·1· · ·Q.· Is it the same three people that get all    ·1· · ·A.· No, they don't.· If there's a descending
      ·2· of the IA investigations, or is it -- are there    ·2· party, that party has to actually write why
      ·3· fifteen people and three are assigned to each      ·3· they're descending.
      ·4· case?                                              ·4· · ·Q.· Got it.· What happens if two people say
      ·5· · ·A.· There's approximately, between six to       ·5· not sustained, and one person says sustained?
      ·6· eight disposition panelist.· They each have        ·6· · ·Is it a majority rules?
      ·7· three.                                             ·7· · ·A.· Yes.
      ·8· · ·Q.· Okay.                                       ·8· · ·Q.· Okay.· That recommendation -- from those
      ·9· · ·A.· And it's rotated -- I believe, it's         ·9· -- that three person disposition panel, where
      10· rotated -- I believe, every six months.· You try   10· does that go?
      11· to identify a chief position to chair, the         11· · ·A.· Once a disposition panel has identified
      12· disposition panel.· And then you have captains.    12· their findings -- their recommended findings,
      13· And you also have alternates identified.           13· then it go to the individuals respective chain
      14· · ·Q.· And I guess, correct me if I'm wrong, an    14· of command.· And it goes through each level of
      15· alternate would be if -- well, let me ask you      15· that chain of command.· With the responsibility
      16· this; what happens if someone is on a              16· for each of those individuals to look at the
      17· disposition panel, that used to be the             17· case.· Look at recommended findings, and either
      18· supervisor of the alleged harasser or the          18· agree, or not agree.· And, again, if they decent
      19· alleged victim?                                    19· from what's being recommended, to support with a
      20· · ·Would that person be removed and an alternate   20· memorandum.
      21· is put in?                                         21· · ·Q.· Understood.· The disposition panel, they
      22· · ·A.· Being a supervisor, depending on how long   22· draft a document that says sustained or not
      23· ago it was, it wouldn't really be an issue.· It    23· sustained, correct?
      24· might be an issue if the person knew someone was   24· · ·A.· That is correct.
      25· friends with the individual or had problems with   25· · ·Q.· Do you know if that goes to labor


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      ·1· management before it goes up the chain of          ·1· employee would already know, because they have
      ·2· command?                                           ·2· been called into internal affairs.
      ·3· · ·A.· I'm trying to think again with the          ·3· · ·Q.· Certainly.· The disposition panel makes
      ·4· process.· Once the disposition panel drafts up     ·4· their recommendations.· Excuse me.· Labor
      ·5· the document, yes.· It will go to labor            ·5· management may get the document before it goes
      ·6· management.· And any sustained charges, they       ·6· up the chain of command.
      ·7· will initiate the first steps of drafting up a     ·7· · ·Who in the chain of command gets the case
      ·8· charging document.                                 ·8· first?
      ·9· · ·Q.· I'm sorry.· Can you say that one more       ·9· · ·A.· It would we be the captain of that
      10· time?                                              10· individual's respective chain.· The captain of
      11· · ·A.· It goes to labor management, and labor      11· the bureau.
      12· management may start initiating a charging         12· · ·Q.· The captain, is that the first time that
      13· document.                                          13· he or she is made aware of the case?
      14· · ·Q.· And that would be -- is that a DAR, or is   14· · ·A.· That's the first time they actually have
      15· that a pending disciplinary action memorandum?     15· the case.· Yes.
      16· · ·A.· It would be a pending disciplinary action   16· · ·Q.· But is that the first time that they have
      17· memorandum.                                        17· heard, in this case, Mr. Fulford, is that the
      18· · ·Q.· Okay.· What is the purpose of the pending   18· first time that captain would have heard that
      19· disciplinary action memorandum?                    19· there was allegations of sexual harassment
      20· · ·A.· To make sure that we come in compliance     20· against Mr. Fulford, and there was an
      21· with the· Weaver date, which is 180 days.          21· investigation conducted?
      22· · ·Q.· The 180 days from the date that the         22· · ·A.· Not necessarily in a sexual harassment
      23· complaint is made; is that correct?                23· case, because he was moved from that bureau,
      24· · ·A.· Yes.· At that time that was it.             24· they were probably informed that there was some
      25· Subsequent to that, it was some law that changed   25· allegations made and who made them.
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      ·1· it.· If an internal complaint, then it wouldn't    ·1· · ·Q.· Understood.· But the captain, up until
      ·2· be held for the 180 days.· Back then we tried to   ·2· the point he or she gets the case, the documents
      ·3· stick to 180 days.                                 ·3· would not have had any opportunity to review any
      ·4· · ·Q.· Got it.· And that would mean that 180       ·4· documents associated with that?
      ·5· days from the date of the complaint, until the     ·5· · ·A.· That's correct.
      ·6· closure of the case where -- I'll call it any      ·6· · ·Q.· The captain -- does the whole chain of
      ·7· decisions on discipline have been made?            ·7· command get all of documents at once, or is it
      ·8· · ·A.· No.· It would be 180 days from the date     ·8· first stop at the captain, and then it goes to
      ·9· of the complaint, until the date that the          ·9· the next person?
      10· individual -- let's say, subject, employed, is     10· · ·A.· It goes up the chain.· So you get a
      11· actually noticed in writing that there's pending   11· pretty extensive file.· And we -- you know, we
      12· discipline.                                        12· really require individuals to take a look at it.
      13· · ·Q.· Understood.· So the whole entire            13· So captain, and then it would go to the chief,
      14· investigation doesn't have to come to closure      14· and so forth and forth.
      15· with the decision with the 180, they just have     15· · ·Q.· Understood.· So it's captain, then chief,
      16· to -- the employee has to be notified of some      16· and then at that time it would've been --
      17· sort of investigation that's going on that could   17· · ·A.· Assistant director or deputy.
      18· lead to some sort of discipline                    18· · ·Q.· And then the director?
      19· · ·A.· That's correct.                             19· · ·A.· Yes.
      20· · ·Q.· Who's in charge of drafting the             20· · ·Q.· And at any point up until the director
      21· memorandums for pending disciplinary actions ?     21· signs off recommendations are able to be made by
      22· · ·A.· Labor management.                           22· that chain of command?
      23· · ·Q.· Are they required to advise the employee    23· · ·A.· Every individual in the chain of command.
      24· of why there's an investigation taking place?      24· That's the expectation.
      25· · ·A.· No.· And let me just say at that time the   25· · ·Q.· The recommendation, is that -- strike


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       ·1· that.                                              ·1· record.
       ·2· · ·So in this case, I believe it was Linda         ·2· · · · · ·(OFF THE RECORD AT 2:00 P.M.)
       ·3· Edwards, that is the facility supervisor that      ·3· · · · ·(BACK ON THE RECORD AT 2:06 P.M.)
       ·4· got the investigation first.· And she signed the   ·4· BY MR. STORCH:
       ·5· closure memorandum.· Is that what's put together   ·5· · ·Q.· Okay.· So I want to talk a little
       ·6· by the --                                          ·6· about -- well, let me ask you this question:
       ·7· · ·A.· Disposition panel.                          ·7· · ·Was Linda Edwards in Mr. Fulford's -- she was
       ·8· · ·Q.· Yes.                                        ·8· his facility supervisor, correct?
       ·9· · ·A.· Yes, sir.                                   ·9· · ·A.· If it indicates it there -- I don't
       10· · ·Q.· She signed the closure memorandum on        10· recall that far back.· But if she signed as the
       11· August 28th, 2009; is that correct?                11· facility supervisor, then if her name is there
       12· · ·A.· Yes.· That's what it states there.          12· she may have been.
       13· · ·Q.· Okay.· The next signature, it looks like    13· · ·Q.· If she was the facility supervisor, would
       14· Ms. Bendros (phonetic) signed on September 4th,    14· there have been any reason to have her not on
       15· 2009; is that correct?                             15· the panel?
       16· · ·A.· That's correct.                             16· · ·Meaning, not in that chain of command?
       17· · ·Q.· Okay.· And both of those individuals        17· · ·A.· On the disposition panel, or in the chain
       18· approved the findings of the disposition panel?    18· of command?
       19· · ·A.· That's correct.                             19· · ·Q.· In the chain of command.
       20· · ·Q.· And you signed next on September 4th,       20· · ·A.· No.· You actually have to have that
       21· 2009; is that correct?                             21· person in the chain of command when the event
       22· · ·A.· That's correct.                             22· occurred.
       23· · ·Q.· And you disapproved?                        23· · ·Q.· Understood.· Let me ask you a little bit
       24· · ·A.· That's correct.                             24· about Tamara Key (phonetic), and her joy in the
       25· · ·Q.· And then on September 14th, 2009, Tim       25· labor management unit.
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       ·1· Ryan signed, correct?                              ·1· · ·What is her job in charge of labor
       ·2· · ·A.· That's correct.                             ·2· management?
       ·3· · ·Q.· And he disapproved, as well?                ·3· · ·A.· The lieutenant in labor management
       ·4· · ·A.· That's correct.                             ·4· basically runs the labor management unit and
       ·5· · ·Q.· So just -- I guess, as a matter of clean    ·5· makes sure it continues to run orderly.· They
       ·6· up -- so the attorney-client privilege doesn't     ·6· receive and put together all department
       ·7· extend once the deposition is started and          ·7· discipline.· So they receive charging documents,
       ·8· ongoing.· So if it was something that was          ·8· which are DAR's, or records of counseling.· They
       ·9· personal for Ms. Guevara, you know, I don't want   ·9· look through it to make sure any drafts meet the
       10· to know.· But if it relates to the case, I'm       10· requirements, both format-wise, language,
       11· certainly entitled to know what you two spoke      11· grammar, as much as correct dates.· And they
       12· about, because she's being deposed right now.      12· communicate with the respective chain of
       13· So there's no privileged between the two of you    13· commands to make sure that the documents are
       14· while the deposition is ongoing.                   14· moving.
       15· · · · ·MS. MOSELY:· I disagree with your           15· · ·Q.· Understood.· Do you recall having any
       16· assessment of that.· And I'm going to invoke       16· conversations with Tamara Key, or anyone in
       17· attorney-client privilege.                         17· labor management while the investigation into
       18· · · · ·MR. STORCH:· So then I'll just ask.         18· Mr. Fulford was ongoing?
       19· · ·Ms. Guevara, were you discussing -- and I'm     19· · ·A.· I can't recall that.· It would not be
       20· not asking you what you were discussing.           20· unusual if there's a discipline matter that's
       21· · ·Were you discussing information related to      21· pending and actions coming close for them to
       22· this case to your attorney just now?               22· discuss it.
       23· · · · ·THE WITNESS:· I have to go to the           23· · ·Q.· Understood.· So we'll talk the specifics
       24· bathroom.                                          24· of the allegations and your memorandum to change
       25· · · · ·MR. STORCH:· Okay.· We can go off the       25· some findings from not sustained to sustained in


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       ·1· a little.                                          ·1· · ·Q.· Okay.· At this point, had anybody in the
       ·2· · ·What I want to talk about now is the DAR.       ·2· chain of command received the IA investigation?
       ·3· Disciplinary Action Report.                        ·3· · ·A.· I would have to refer to the disposition
       ·4· · ·Is that -- that is the labor management's       ·4· in writing.
       ·5· responsibility to draft; is that correct?          ·5· · ·Q.· Are you referring to the closure
       ·6· · ·A.· For internal affairs, type cases they       ·6· memorandum?
       ·7· would not draft it if it was an action that was    ·7· · ·A.· Yes.
       ·8· occurring from the facility or another bureau.     ·8· · ·Q.· And actually the IA case, as well?
       ·9· · ·Q.· What would be the difference?· Just so      ·9· There's two.
       10· I'm clear.                                         10· · ·So I'm showing you the July 31st, 2009
       11· · ·A.· You have a supervisor that see's an         11· closure memorandum.
       12· employee violate a rule.· That supervisor then     12· · ·A.· Uh-huh.
       13· is responsible to draft up a charging document.    13· · ·Q.· And that's Defendant's 16, 17, 18, and
       14· And that goes to labor management.                 14· 19.
       15· · ·Q.· Okay.· If there's some sort of              15· · ·A.· Okay.
       16· investigation that is started, then it would be    16· · ·Q.· And the last page -- could you tell me --
       17· the labor management's unit responsibility to      17· Ms. Edwards, that is the first signature,
       18· draft a DAR.· But if a supervisor physically       18· correct?
       19· witnesses one of his subordinates, or maybe        19· · ·A.· That's correct.
       20· not -- maybe his supervisor is violating some      20· · ·Q.· And the date she signed it?
       21· sort of policy, then it would be on that person    21· · ·A.· August 28th 2009.
       22· to draft the DAR and send it up?                   22· · ·Q.· Okay.· So based on that, is it possible
       23· · ·A.· That's right.                               23· that the IA -- excuse me.· Based on the August
       24· · ·Q.· Understood.· The DAR, with regard to an     24· 28th date, is it possible that a final decision
       25· IA investigation, is that drafted -- at what       25· had been made with regard to the IA
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       ·1· point is that drafted?                             ·1· investigation?
       ·2· · ·A.· Again, depending on the timing of the       ·2· · ·A.· No.· A final decision was not made.
       ·3· case.· Once labor management receives the          ·3· However, the disposition panel has sustained.
       ·4· disposition findings, they may start initiating.   ·4· Their recommendation was to sustain.· So again,
       ·5· Because a charging documents related to an IA      ·5· based on weaver, labor management would initiate
       ·6· case is a very simple document.· So and so --      ·6· knowing that there were some sustained findings.
       ·7· the disposition panel met, and sustained the       ·7· It's easier to initiate, and then if the chain
       ·8· following allegations.· So it's just -- pretty     ·8· fully disagrees the charging of the DAR is
       ·9· much repeating the allegations that have been      ·9· rescinded.
       10· sustained in that charging document.               10· · ·Q.· Understood.· So do you find it
       11· · ·Q.· The DAR is the charging document?           11· interesting that this DAR is dated August 10th,
       12· · ·A.· Yes, sir.                                   12· 2009.· Yet it contains all of the findings that
       13· · ·Q.· Okay.· So the DAR, that is -- that I'm      13· you made in your September 4th, 2009 memorandum
       14· going to show you is dated August 10th, 2009.      14· changing the allegations from nonsustained to
       15· I'm going to show this to your lawyer.             15· sustained?
       16· · ·It's -- it actually came from the County.       16· · ·A.· Do I find it interesting, no.· They
       17· It's numbers 32 and 33.                            17· probably initiated it August 10th.· And then it
       18· · ·Just review the document, if you don't mind.    18· went on revised when they finally got the final
       19· It's marked as No. 1.                              19· action.· And the date is the -- the date that it
       20· · ·Have you had an opportunity to review that      20· was served to the employee.
       21· document?                                          21· · ·Q.· So according to Tamara Key --
       22· · ·A.· Yes, I have.                                22· · ·A.· Uh-huh.
       23· · ·Q.· Great.· Can you tell me the date of this    23· · ·Q.· -- had she started a document, the DAR,
       24· disciplinary action report?                        24· on August 10th 2009, as indicated, there would
       25· · ·A.· August 10th, 2009.                          25· be a separate document indicating that the --


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       ·1· the fact section would· represent what was found   ·1· · ·A.· No.
       ·2· in the disposition panel's findings.               ·2· · ·Q.· Okay.· Can you tell me the date?
       ·3· · ·Do you know if there is a separate DAR, that    ·3· · ·A.· September 4th, 2009.
       ·4· indicates what the findings of the disposition     ·4· · ·Q.· And do you recall and in going through
       ·5· panel was?                                         ·5· your review of -- well, strike that.
       ·6· · ·A.· I do not.· I did not find it unusual for    ·6· · ·So No. 3, is the memorandum dated July 31st,
       ·7· there to be a date, and maybe someone had it on    ·7· 2009.
       ·8· the computer and wanted to revise it, and did      ·8· · ·And it's the disclosure memorandum.· I'll
       ·9· not do it properly do one.· They wouldn't          ·9· have you look at that as well.
       10· necessarily have a separate document unless it     10· · ·So Ms. Bendros, correct, the division chief?
       11· was served to the employee.· So if they            11· · ·A.· Yes.
       12· initially started on August 10th, with the         12· · ·Q.· She signed on what date?
       13· sustained findings of the disposition panel        13· · ·A.· September 4th, 2009.
       14· already made, and served the employee, and then    14· · ·Q.· So is it fair to say, or is it accurate
       15· something else came up, then they would have to    15· to say that you would not have received the IA
       16· rescind the original one.· So they don't           16· case before September 4th, 2009?
       17· necessarily always keep separate copies.           17· · ·A.· Correct.
       18· · ·Q.· Understood.· But it is accurate to say      18· · ·Q.· You signed the closure memorandum on
       19· that the facts in August 10th, 2009 DAR, are the   19· September 4th, 2009; is that correct?
       20· findings that you made in your September 9th,      20· · ·A.· That's correct.
       21· 2009 letter, correct?                              21· · ·Q.· There was a lot of stuff to review; is
       22· · ·A.· I would have to look again, and go fact     22· that correct?
       23· by fact to compare to my letter to see.· But if    23· · ·A.· That's correct.
       24· it was the charging document served -- the         24· · ·Q.· You reviewed it all in one day?
       25· original served to Mr. Fulford, then it would      25· · ·A.· No.
                                                   Page 46                                                Page 48
       ·1· have to contain everything.                        ·1· · ·Q.· So is that September 4th, 2009 date, that
       ·2· · ·Q.· Got it.· Is there any reason why a DAR      ·2· you signed the closure memorandum accurate?
       ·3· would be held in abeyance?                         ·3· · ·A.· It probably reflects when I started to
       ·4· · ·A.· In general?                                 ·4· look at the case.· And given when Director Ryan
       ·5· · ·Q.· Yeah.                                       ·5· signed it on the 14th.
       ·6· · ·A.· There might be some reasons.                ·6· · ·My initial review started on September 4th.
       ·7· · ·Q.· Can you tell me what some of the reasons    ·7· · ·Q.· Okay.· And then is it fair to say --
       ·8· are?                                               ·8· well, let me ask you this question:
       ·9· · ·A.· The employee was not available.· Issues     ·9· · ·A.· Uh-huh.
       10· occurred in the processing of the actual           10· · ·Q.· Approximately, when do you think you got
       11· charging documents.· There would be extenuating    11· your September 4th 2009 memorandum that's
       12· circumstances.· But --                             12· Exhibit 2, to Director Ryan?
       13· · ·Q.· Got it.· At what point did you review the   13· · ·A.· Probably some time closer to the 14th.
       14· IA document?                                       14· And I just did not change.· This is when
       15· · ·A.· Again, I would have to look at -- not       15· initiated my review.
       16· necessarily the disposition panel.· But when I     16· · ·Q.· Got it.· But the September 4th, 2009 date
       17· would have received the case.· It was usually a    17· on your memorandum, that is not the date that
       18· transmittal.                                       18· the document was actually drafted?
       19· · ·Q.· So I'll show you the memorandum dated       19· · ·A.· I would have started it.· Because it has
       20· September 4th, 2009.· That's from you to Tim       20· that date, that would have been the date I
       21· Ryan.· And go ahead and mark that as 2.            21· started it.· But it definitely was not reflected
       22· · ·Is that the memorandum that you drafted and     22· when I completed the review.
       23· sent to Director Ryan?                             23· · ·Q.· Okay.· The IA case that went up to
       24· · ·A.· It appears to be.· Yes.                     24· Director Ryan, do you recall how long he took to
       25· · ·Q.· Any reason to believe that it's not?        25· sign off on your memorandum and closure


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       ·1· memorandum, which are both dated September 4th,    ·1· looked at any transcripts or evidence before --
       ·2· 2009?                                              ·2· in the fact finding.· But -- by internal
       ·3· · ·A.· I don't know.                               ·3· affairs.· And in this particular case, based on
       ·4· · ·Q.· Okay.· So when you went through the         ·4· what I found, I recommended this actual charge
       ·5· investigation by Ms. Boom -- I guess, we might     ·5· be sustained.
       ·6· as well mark this as 4.                            ·6· · ·Q.· Sergeant Constantino Weston (phonetic),
       ·7· · ·This is the July 13th, 2009 investigation.      ·7· do you recall her testimony at all?
       ·8· It's pages 1 through -- if I could tell you the    ·8· · ·A.· From five years ago, no, sir.· I don't.
       ·9· last page, I would -- 55.· And it's signed by      ·9· · ·Q.· Okay.
       10· Sheba Boom.                                        10· · ·A.· Sorry.
       11· · ·Okay.· We're good to go.                        11· · ·Q.· Is Sergeant Weston someone that you would
       12· · ·So we have marked this as Exhibit 4.            12· say has credibility?
       13· · ·This is the July 13th investigation that was    13· · ·A.· I wouldn't say anything different.
       14· completed by Ms. Boom.· So let's kind of go        14· · ·Q.· So then it would be accurate to say that
       15· through the allegations.                           15· she has credibility?
       16· · ·A.· Sure.                                       16· · ·A.· I haven't come across anything that I
       17· · ·Q.· If you don't mind?                          17· wouldn't of find hers to be credible.
       18· · ·A.· There's one document that list them out.    18· · ·Q.· What about Sergeant Willet Williams
       19· · ·Q.· Yeah.· I have that.                         19· (phonetic), does she have credibility?
       20· · ·This is the disposition of allegations.· It's   20· · ·A.· Once again, I don't have any reason to
       21· Defendant's eight through fifteen.                 21· say yes or no.
       22· · ·So there's various allegations that were made   22· · ·Q.· Are you aware that Sergeant Willet
       23· by, or against Sergeant Fulford?                   23· Williams made a statement that an officer by the
       24· · ·A.· Yes.                                        24· name of Watson did not want to work with
       25· · ·Q.· The first allegation is that Sergeant       25· Mr. Fulford, because he continuously asked her
                                                   Page 50                                                Page 52
       ·1· Shervin Fulford, badge number: 5488, made sexual   ·1· out?
       ·2· advances to Officer Christian; is that correct?    ·2· · ·A.· Once again, I don't recall the events.
       ·3· · ·A.· Yes.                                        ·3· · ·Q.· In kind of going through the -- your
       ·4· · ·Q.· And you're looking at Exhibit 2.            ·4· investigation of this matter there was -- would
       ·5· · ·Can you tell me what the disposition panel      ·5· you agree that there was statements made by
       ·6· found?                                             ·6· certain individuals that said Mr. Fulford said
       ·7· · ·A.· Yes.· They sustained it.                    ·7· certain things to them, but that those
       ·8· · ·Q.· And can you tell me what your               ·8· individuals were not able to corroborate?
       ·9· recommendation was?                                ·9· · ·A.· In any case you will find conflicting
       10· · ·A.· To sustain it.                              10· information.· And it's a matter of going through
       11· · ·Q.· Can you tell me why?                        11· everything and again finding the preponderance
       12· · ·A.· Based on the preponderance of the           12· of the evidence to which way it weighs more.
       13· evidence that I found in the case.· And directly   13· · ·Q.· Understood.· In doing that, you have to
       14· based on the other allegations that the actual     14· assess credibility towards different
       15· disposition panel found -- sustained -- actually   15· individuals, correct?
       16· supported it.                                      16· · ·A.· Credibility, the actual details.· If some
       17· · ·Q.· Can you tell me in going through all of     17· were able to provide -- and, also going through
       18· the allegations -- you said -- you testified       18· the disposition panel and why they recommended
       19· earlier that you reviewed all of the documents     19· the allegations to be one way or the other.
       20· -- all -- you listened to all of the tapes.        20· · ·Q.· Sergeant Weston made a statement to
       21· · ·Did you find any inconsistencies of testimony   21· Ms. Boom, about Officers Watson Stanley
       22· along the way?                                     22· complaining, that Mr. Fulford asked them out or
       23· · ·A.· I don't recall specifically right now. I    23· to buy lunch.
       24· know that in any IA case they take it seriously.   24· · ·Do you recall that?
       25· So I listened to all of the audio tapes and        25· · ·A.· I don't recall specifics to what was in


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       ·1· the case.· I would have reviewed it.               ·1· favors from Officer Christian.
       ·2· · ·Q.· So I'm showing you page 8, of -- I lost     ·2· · ·A.· Yes.
       ·3· pages.· I'm showing page 8, of Exhibit 4, which    ·3· · ·Q.· Can you tell me what did the disposition
       ·4· is the IA investigation.· And it says -- I'll      ·4· panel say about that?
       ·5· ask you to read this paragraph.                    ·5· · ·A.· They recommended not sustained based on
       ·6· · ·A.· Which paragraph, sir?                       ·6· the inability to validate and corroborate the
       ·7· · ·Q.· It starts with Sergeant Weston said.        ·7· allegations.· They felt that nobody else
       ·8· · ·A.· Sergeant Weston said two females            ·8· witnessed or heard him make the sexual advances
       ·9· employees came to her about Sergeant Fulford       ·9· towards the employee -- towards Officer
       10· asking them for a date.· The two officers were     10· Christian.
       11· Watson and Chantal Stanley.                        11· · ·Q.· So you switched that allegation from not
       12· · ·Q.· So if Officers Watson and Stanley both      12· sustained to sustained, correct?
       13· denied making that statement, that would tend to   13· · ·A.· I recommended sustained.· Yes, sir.
       14· diminish Officer Weston's credibility, correct?    14· · ·Q.· And I guess my question is, these are
       15· · ·A.· Not necessarily.· They could have changed   15· some serious allegations?
       16· their mind.· They could have told her one thing    16· · ·A.· Yes.
       17· and then turned around and said something          17· · ·Q.· How is it that the disposition panel
       18· different.                                         18· found not to sustain allegations of sexual
       19· · ·Q.· Why wouldn't it be that Sergeant Weston     19· advances and requests for sexual favors, but in
       20· is the one that is, you know, not telling the      20· the same evidence you found that there was
       21· truth?                                             21· sufficient evidence?
       22· · ·Why is it Officer Watson and Stanley that --    22· · ·A.· Well, I could tell you a couple things.
       23· · ·A.· I wouldn't say it's either one.· You        23· I really dug into this when I looked at the
       24· can't say it's either one automatically.           24· case.
       25· · ·Q.· So what do you do when you have a           25· · ·Q.· Any particular reason?
                                                   Page 54                                                       Page 56
       ·1· discrepancy like that?                             ·1· · ·A.· Yeah.· Because of the conflict that the
       ·2· · ·A.· You take everything into account.           ·2· disposition panel had in their recommendations.
       ·3· · ·Q.· When you say you take everything into       ·3· And I'll give you an example.
       ·4· account, how do you determine who to believe       ·4· · ·Allegation No. 3. Sergeant Fulford made
       ·5· when Officer -- or Sergeant Weston is saying one   ·5· sexual comments about a female employee anatomy.
       ·6· thing and Officer Watson and Stanley are saying    ·6· The disposition panel didn't sustain that.· If
       ·7· another?                                           ·7· you go further on to Allegation 9.· Sexual --
       ·8· · ·A.· You -- again, it's the preponderance of     ·8· Sergeant Fulford sexually displayed sexually
       ·9· the evidence.· And this surmises it.· So I would   ·9· suggestive photos.· They sustained that.
       10· listen to the audiotapes.· Maybe this was all      10· · ·He inappropriately used telecommunication
       11· recorded.· Maybe there's something more.· How      11· device to display sexually suggestive photos.
       12· they came across on tape -- what Watson and        12· They sustained that.· He utilized an officer's
       13· Stanley's testimony was on tape.· If there's       13· account without her authorization to display
       14· someone else saying something different.· So       14· those photos.· They sustained that.· He made
       15· it's a variety of things when you look at          15· sexual comments about females, they sustained
       16· credibility.· It's not just somebody said A        16· that.· He made inappropriate sexual comments
       17· somebody said b, which one of them is lying.       17· that created sexually charged atmosphere in the
       18· They may not be lying.· They may be going on       18· work place.· They sustained that.
       19· what they recall of the conversation.· So it's     19· · ·So they're sustaining all of these elements
       20· what they remember and not necessarily a flat      20· of a sexual harassment.· They actually
       21· out lie.                                           21· sustained --
       22· · ·Q.· Understood.· So let's continue going        22· · ·Q.· Well, let me ask you this question --
       23· through the allegations.                           23· · · · ·MS. MOSELY:· She has not finished her
       24· · ·A.· Sure.                                       24· answer.
       25· · ·Q.· That Sergeant Fulford requested sexual      25· · · · ·MR. STORCH:· Sure.· Finish.


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       ·1· · ·A.· There was one.· That was Officer Fulford    ·1· shadow of a doubt.· We're talking preponderance.
       ·2· -- Sergeant Fulford.· I'm sorry.· Retaliated       ·2· And I found in my opinion it was there to
       ·3· against Officer Christian.· They sustained that.   ·3· sustain.
       ·4· He obtained her personal cell phone for use        ·4· · ·Q.· Understood.· So we spoke about a lot
       ·5· without her permission.· They sustained that.      ·5· there.
       ·6· So it's kind of -- to me -- and that's not the     ·6· · ·So let me try to take it piece by piece.
       ·7· only reason.· That was something I found that      ·7· · ·As far as making sexual advances to Officer
       ·8· was a conflict in how they were suggesting that.   ·8· Christian or requesting sexual favors from
       ·9· Although that they felt that he retaliated         ·9· Ms. Christian, you referenced some of the other
       10· against her, that he had her phone number.· That   10· allegations that play into that.· Where
       11· he was displaying sexually explicit photos, so     11· Mr. Fulford allegedly got Ms. Christian's cell
       12· forth and so on.· Their reason for not             12· phone number, and allegedly showed her some
       13· sustaining the sexual harassment is because they   13· quote "sexually suggestive photos."
       14· didn't· feel that someone else came forward and    14· Inappropriately used Miami-Dade County
       15· said yeah, I heard him sat this to her.· And       15· Telecommunication device, by displaying sexually
       16· that in this particular case there was an          16· suggestive photos.
       17· employee that stood by one of the times that he    17· · ·Let me ask you this question; is showing a
       18· spoke to her.· And although she did not hear       18· sexually suggestive photo the same thing as
       19· anything, she fully describes Officer Christian    19· requesting a sexual favor or making a sexual
       20· grimacing and backing away from the Sergeant.      20· advance?
       21· So to me there was significant preponderance of    21· · ·A.· No.· It is not the same thing.
       22· the evidence to say was this more so sustainable   22· · ·Q.· Okay.· We also spoke about something -- I
       23· or not.· And in my opinion I recommended it be     23· guess, it was Ms. Frasier, who said something
       24· sustained.                                         24· about witnessing Sergeant Fulford whispering
       25· · ·Q.· Who -- I'm sorry.· For interrupting.        25· something in Ms. Christian's ear, correct?
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       ·1· · ·A.· Sure.                                       ·1· · ·A.· Yes.
       ·2· · ·Q.· Who was the officer that you were just      ·2· · ·Q.· And that she -- meaning, Officer Frasier
       ·3· referring to that didn't hear anything, but        ·3· did not hear what Mr. Fulford said?
       ·4· witnessed someone grimacing, you said?             ·4· · ·A.· That's correct.
       ·5· · ·A.· I would have to go through.· And again,     ·5· · ·Q.· But she saw some sort of look of anger on
       ·6· this has been quite a long time.· Let me look      ·6· Ms. Christian after Mr. Fulford whispered in her
       ·7· through this and I'll tell you.                    ·7· ear?
       ·8· · ·That is stating Officer Frasier.· Officer       ·8· · ·A.· Yeah.· I believe she -- I have it in
       ·9· Frasier witnessed the conversation.· This is       ·9· quotes.· She stated:· "With a look of surprise
       10· with the disposition panel.· It says Officer       10· and disgust."· You would have to look through
       11· Frasier did not hear.· So that· was their          11· Frasier's testimony.
       12· reasoning -- she did not witness it.               12· · ·Q.· Certainly.· And my question to you is,
       13· · ·Let me read this a little more.· Yes.           13· other than a sexual suggestive comment or sexual
       14· Although Officer Frasier testified she did not     14· advance, is it possible that Mr. Fulford could
       15· hear what Segregant Fulford whispered.· She also   15· have said any other statement that would have
       16· testified that Sergeant Fulford whispered into     16· made Ms. Christian walk away in disgust?
       17· Officer Christian's ear.· Officer Christian        17· · ·A.· Absolutely.· There's not one piece,
       18· displaying expression of surprise and disgust.     18· individually, or by itself, that my
       19· Officer Frasier also heard Officer Christian       19· recommendation was based on.· It was based on
       20· state at least three to four times now, Sergeant   20· collectively -- all these different testimonies
       21· Fulford let's keep it professional.· After         21· and facts that came out of the case.
       22· Sergeant Fulford walked off, Officer Christian     22· · ·Q.· Was there anyone's testimony that you
       23· stated something has to be done about this.        23· felt was more reputable, or that you held more
       24· So -- again, we are not talking about a standard   24· weight to than others?
       25· of clearing.· We're saying a proof beyond a        25· · ·A.· Once again, we are talking about 2009.


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       ·1· So I can't specifically tell you if there was      ·1· individuals -- to say that would not have any
       ·2· one person that stood out more than others. I      ·2· merit in someone saying that same person made
       ·3· know that again, just based on reviewing for my    ·3· sexual advances to them.
       ·4· memo, it was collectively -- many things that      ·4· · ·Q.· So if someone makes a sexual advance to
       ·5· again, lead me to recommend to sustain based on    ·5· person A --
       ·6· the preponderance that I found in these.           ·6· · ·A.· Uh-huh.
       ·7· · ·Q.· And those many things -- is there           ·7· · ·Q.· -- and the investigation is about person
       ·8· anything that you -- I know we previously spoke    ·8· B --
       ·9· about these other allegations of the computer      ·9· · ·A.· Uh-huh.
       10· photos.                                            10· · ·Q.· Is it assumed that sexual advances were
       11· · ·Anything that you haven't told me, that you     11· made to person B?
       12· kind of took into account as you were going        12· · ·A.· No. but if you spoke to person A, as a
       13· through and making your decision?                  13· witness, and they said yeah, that person made
       14· · ·A.· Not that I recall.· Again, it was the       14· sexual advances to me too, it would add
       15· combination of the various things I came across    15· credibility to person B.· Especially if there's
       16· when I reviewed the IA file.                       16· a person C and D saying the same thing.
       17· · ·Q.· So that would be -- and just because I      17· · ·Q.· What about the testimony from several
       18· need the record clear.· I hate to belabor this     18· individuals who stated that they never heard or
       19· point.                                             19· witnessed Mr. Fulford engaging in any of that
       20· · ·It would be statements and audio tapes that     20· activity?
       21· were received from witnesses, correct?             21· · ·A.· I would have to counter with the fact
       22· · ·A.· Yes.· The IA file itself.                   22· that you don't usually make a sexual advance in
       23· · ·Q.· Got it.                                     23· a group setting.· And so I could make it to you
       24· · ·A.· That contained it.                          24· in a private setting, and not make it to
       25· · ·Q.· Are you aware that Ms. Christian did not    25· somebody else.· Maybe I just thought you were
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       ·1· go to IA to make any complaints about              ·1· more attractive to me.· I don't know.
       ·2· Mr. Fulford?                                       ·2· · ·Q.· So then by that account it would mean
       ·3· · ·A.· No, I'm not.                                ·3· people who deny ever hearing anything would not
       ·4· · ·Q.· Were you aware that this investigation      ·4· factor into your equation.· Because you're
       ·5· was started by IA coming to Ms. Christian?         ·5· automatically assuming that makes sense.· That
       ·6· · ·A.· No, I'm not.                                ·6· they are not going to -- that the alleged
       ·7· · ·Q.· The allegations of Mr. Fulford coming on    ·7· harasser is not going to make a comment in front
       ·8· to Officer Christian an and making sexually        ·8· of others, correct?
       ·9· advances, that was not heard by anyone else,       ·9· · ·A.· I didn't understand that question.
       10· correct?                                           10· · ·Q.· So if several individuals deny hearing,
       11· · ·A.· I'm sorry.· Not heard?                      11· or witnessing any allegations or the sexual
       12· · ·Q.· Yeah.· Not actually heard.· Nobody heard    12· request for sexual favors, or sexual advances,
       13· or witnessed Mr. Fulford make sexual advances or   13· those people are kind of being pushed to the
       14· request sexual favors from Officer Christian?      14· side then, because you are saying that it makes
       15· · ·A.· Not necessarily.· There was some hearsay    15· sense.· That someone who's going to sexually
       16· testimony, I believe.· And other individuals       16· harass someone is going to do it without other
       17· that claim that he made advances towards them.     17· people there?
       18· But -- specifically, Officer Christian --          18· · ·A.· No.· They wouldn't be pushed to the side.
       19· · ·Q.· But as it relates to Officer Christian,     19· But maybe they weren't standing in the corner
       20· because the issues here were as they related to    20· when the car accident happened.· So if they're
       21· Officer Christian, and not any other females.      21· not standing in the location when the accident
       22· And I understand what the allegations are.         22· happened, then they could say they didn't see
       23· · ·A.· Okay.· Yeah.· I would differ with that.     23· the accident.· It doesn't mean the accident
       24· If you have someone that's asking other            24· didn't happen.· I wouldn't push that aside to
       25· individuals -- making sexual advances to other     25· take into account.


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       ·1· · ·Q.· How do you balance that out knowing that    ·1· · ·Q.· What about the fact that there's never
       ·2· sexual harassment often time happens in a          ·2· been any complaints against Mr. Fulford
       ·3· one-on-one situation, which is a classic he        ·3· previously?
       ·4· said, she said, correct?                           ·4· · ·Does that get taken into account?
       ·5· · ·A.· Correct.                                    ·5· · ·A.· Absolutely.
       ·6· · ·Q.· And then you have many people saying it     ·6· · ·Q.· And what kind of weight is that given?
       ·7· did not happen.· I never witnessed anything.       ·7· · ·Because I would think that someone who has
       ·8· · ·A.· It did not happen to them, and they         ·8· been employed for a decent amount of time, and
       ·9· didn't witness anything.· That's true.· It did     ·9· that would have their track records -- so to
       10· not happen to them.                                10· speak, it would have some sort of weight to it?
       11· · ·Q.· And they didn't witness anything as it      11· · ·A.· Yes.
       12· relates to Mr. Fulford and Officer Christian?      12· · ·Q.· So what kind of weight is not having any
       13· · ·A.· Correct.· I don't find that to be a         13· trouble?
       14· conflict.                                          14· · ·A.· It was taken into consideration.· And in
       15· · ·Q.· No.· I understand that's not a conflict.    15· the -- it's a mitigating circumstance for the
       16· · ·My question is, it seems to me that people      16· discipline being imposed.
       17· who are saying they never witnessed anything --    17· · ·Q.· The discipline, meaning, the 30-day
       18· let's forget about the -- Mr. Fulford never made   18· recommended suspension?
       19· an advance against me.· Let's talk about I never   19· · ·A.· Yes.
       20· witnessed Mr. Fulford make any advance or          20· · ·Q.· Okay.· The allegations as it relates to
       21· request for a sexual favor against                 21· displaying sexually suggestive photos
       22· Ms. Christian.                                     22· inappropriately -- inappropriately.· I cannot
       23· · ·The people that are saying that --              23· say that word today.· Using a Miami-Dade
       24· · ·A.· Yes.                                        24· Telecommunication device, by displaying sexually
       25· · ·Q.· -- are people who you're saying may not     25· suggested photos, downloading personal data
                                                   Page 66                                                Page 68
       ·1· have been present when it happened, correct?       ·1· files to Miami-Dade County computer.· Those
       ·2· · ·A.· That's one theory.· Yes.                    ·2· allegations seem to kind of all be surrounding
       ·3· · ·Q.· So then it would only come down to the he   ·3· the same thing; is that correct?
       ·4· said, she said between Officer Christian and       ·4· · ·A.· Most likely.· Yes.
       ·5· Sergeant Fulford, correct?                         ·5· · ·Q.· Any reason that they were not combined
       ·6· · ·A.· Absent any other information present,       ·6· into one allegation?
       ·7· such as what I previously stated.· In this         ·7· · ·A.· I believe, specifically, because they are
       ·8· particular case, it did not come down to just      ·8· different violations.· And using of the
       ·9· the he say, she say.· There were other things      ·9· telecommunication device, and not using -- using
       10· that built up to the preponderance of evidence     10· someone's account without their permission is
       11· for me.                                            11· not the same.
       12· · ·Q.· Like what?                                  12· · ·Q.· But what about displaying sexually
       13· · ·A.· Once again, the retaliation, which was      13· suggestive photos and inappropriately using a
       14· not only an allegation, it was a sustained         14· Dade County Telecommunication device, by
       15· allegation upheld by an arbitrator.· The phone,    15· displaying sexually suggestive photos.· Those
       16· the sexually explicit pictures.· All those         16· would be the same thing, correct?
       17· things in combination.· It wasn't just he say,     17· · ·A.· They can be.
       18· she say.· And again, the preponderance of the      18· · ·Q.· Any reason those two were not merged into
       19· evidence.· And I'm not talking about proof         19· one?
       20· beyond shadow of doubt.· I'm talking about a       20· · ·A.· No.· No specific reason.
       21· preponderance of the evidence.                     21· · ·Q.· So I'm looking at the Exhibit 5, which is
       22· · ·Q.· So in this case, we are saying -- or in     22· the disposition of allegations.
       23· this case, you are saying 50.1 percent it          23· · ·And it states in No. 5, which is sustained.
       24· happened, as opposed to 49.9 percent?              24· I'll have you look at this document.
       25· · ·A.· Yes, sir.                                   25· · ·A.· Okay.


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       ·1· · ·Q.· But it states that the series of -- this          ·1· Exhibit No. 2?
       ·2· statement -- or Allegation No. 5, is about the           ·2· · ·A.· Yes, sir.
       ·3· telephone.                                               ·3· · ·Q.· And what day was that all delivered to
       ·4· · ·Yes.· Allegation No. 5, Ms. Fulford obtained          ·4· Director Ryan?
       ·5· Officer Christian's cellular telephone for               ·5· · ·A.· I don't recall.· It would have been -- he
       ·6· personal use without her permission.                     ·6· signed off on --
       ·7· · ·So it states that the series of phone calls           ·7· · ·Q.· September 14th --
       ·8· made to Officer Christian by Sergeant Fulford            ·8· · ·A.· So it would have been close to that day.
       ·9· occurred on the same day he was moved as a               ·9· · ·Q.· Do you know if Director Ryan listened to
       10· result of result Officer Christian filing her            10· all of the audio tapes?
       11· complaint relevant to this investigation.                11· · ·A.· I cannot speak for him.· I don't know
       12· · ·Do you see where it states that?                      12· what he may have listened to.
       13· · ·A.· Yes.                                              13· · ·Q.· Did you have any conversations with him
       14· · ·Q.· I'm going to show you testimony of                14· about this case?
       15· Officer Christian.· This is Volume 4, of the             15· · ·A.· Yes.· We discussed the case.
       16· American Arbitration Association of Shervin              16· · ·Q.· At what point did you have your first
       17· Fulford and Miami-Dade County.· I guess, it's            17· discussion with Director Ryan?
       18· case number:· 32390001--0011. I'm trying to keep         18· · ·A.· I believe one of the issues in this case
       19· my page.                                                 19· was Sergeant Fulford was on probation at the
       20· · · · ·MS. MOSELY:· Okay.· Well, actually -- let         20· time, and his probation was close to ending.· So
       21· me see. Just a moment.                                   21· based on the findings of the disposition panel,
       22· BY MR. STORCH:                                           22· I believe Director Ryan, myself, the legal
       23· · ·Q.· So the question states, you did not go to         23· advisor, and it may have been someone else
       24· internal affairs to file a complaint, did you?           24· present from the chain.· Maybe the chief, if I
       25· · ·A.· Answer:· No, I did not.                           25· can recall.
                                                          Page 70                                               Page 72
       ·1· · ·Q.· Is that correct?                                  ·1· · ·Q.· Would that be Bendros?
       ·2· · ·A.· That's correct.                                   ·2· · ·A.· Most likely it would have been Chief
       ·3· · ·Q.· Internal affairs came to you having heard         ·3· Bendros.
       ·4· that incident happened, right?                           ·4· · ·To look at the findings that were recommended
       ·5· · ·Answer:· That's correct.                              ·5· or sustained by the disposition panel as they
       ·6· · · · ·MS. MOSELY:· Objection.· Improper                 ·6· were at that time, I did mention that I had some
       ·7· predicate.                                               ·7· concerns about some of the nonsustained.· That I
       ·8· · · · ·MR. STORCH:· You can limit it to form.            ·8· needed further review on those.· But there was
       ·9· You have to limit it to form a deposition.               ·9· sufficient issue with those that had been
       10· · · · ·MS. MOSELY:· I understand.                        10· recommended and sustained by the disposition
       11· · · · ·MR. STORCH:· So your objection will be            11· panel.
       12· noted as to form.· Thank you.                            12· · ·Q.· So then -- let me ask you this question;
       13· · · · ·MS. MOSELY:· Did you have that transcript         13· the timing of that meeting, when would that have
       14· marked?                                                  14· been held?
       15· · · · ·MR. STORCH:· No.                                  15· · ·A.· I don't recall specifically.· But it was
       16· BY MR. STORCH:                                           16· the catalyst for recommending Sergeant Fulford's
       17· · ·Q.· So is it fair to say that there were              17· probation.
       18· individuals who denied ever seeing or hearing            18· · ·Q.· So you testified that you had some
       19· any requests for sexual favors or advances as            19· concerns about the sustained and nonsustains,
       20· the allegations against Ms. Christian are                20· correct?
       21· related?                                                 21· · ·A.· Yes, sir.
       22· · ·A.· I don't specifically recall that. I               22· · ·Q.· So that meeting would've had to have been
       23· would have to look through the whole case.               23· at the very earliest, September 4th of 2009,
       24· · ·Q.· Okay.· So you reviewed all these                  24· correct?
       25· documents, and you put together your memorandum,         25· · ·A.· Once again, I don't recall specifically.


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       ·1· · ·Q.· So you received the -- amongst other        ·1· the first time that you had gotten these
       ·2· things, the IA case.· And we already established   ·2· documents and reviewed them was -- would've been
       ·3· that your signature on the closure memorandum      ·3· in the chain of command?
       ·4· was dated September 4th, 2009?                     ·4· · ·A.· Yes.
       ·5· · ·A.· Yes.                                        ·5· · ·Q.· And I believe it was Chief Bendros signed
       ·6· · ·Q.· Although it probably wasn't September       ·6· on September 4th, 2009?
       ·7· 4th, 2009 that you signed it.· It was the date     ·7· · ·A.· Yes.
       ·8· that you began reviewing the documents?            ·8· · ·Q.· So you would not have reviewed it or
       ·9· · ·A.· Most likely.· Yes.                          ·9· reviewed these documents before that date;
       10· · ·Q.· So the meeting that you had -- that you     10· correct?
       11· are talking about with Director Ryan, that would   11· · ·A.· And I can't specifically say that, you
       12· have not been able to occur before September       12· know, to my best recollection.· But that doesn't
       13· 4th, 2009, if you said you had concerns about      13· mean that she didn't bring something over to our
       14· the not sustains in the IA report, correct?        14· side, and say, hey, I have a concern with this,
       15· · ·A.· I don't know specifically when the          15· because this person is on probation.
       16· meeting would have occurred.· Chief Bendros may    16· · ·Q.· But she approved the findings, correct?
       17· have prompted the meeting, as well.· So if --      17· · ·A.· Yes.· The disposition panel.· Yes.
       18· once labor management received the initial --      18· · ·Q.· Sergeant Fulford -- ultimately there's a
       19· and I just go based on the process.· Once labor    19· letter that's dated September 1st, 2009.· That
       20· management would've received the disposition       20· is terminating his probationary status.· It's
       21· panel· memorandum, from that point they -- like    21· Defendant No. 134?
       22· I say, they initiate the charging documents        22· · ·Yes?
       23· based on the disposition panel memorandum.· So     23· · ·A.· Uh-huh.
       24· they would have done history on Sergeant           24· · ·Q.· Is that correct?
       25· Fulford.· And if they knew he was on probation,    25· · ·A.· Yes.· I'm looking at that.· Yes.

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       ·1· that may have well prompted some conversation.     ·1· · ·Q.· So I question my question is, Director
       ·2· · ·Q.· Understood.                                 ·2· Ryan didn't receive and review the documents
       ·3· · ·A.· So I can't really give you a date.          ·3· until after this date.
       ·4· · ·Q.· But my question would be, you testified     ·4· · ·How is he approving the termination of the
       ·5· that you had concerns about some of the            ·5· probation?
       ·6· allegations that had not been sustained?           ·6· · ·A.· Because once again, the disposition
       ·7· · ·A.· Correct.                                    ·7· panel, closing memorandum is completed.· It goes
       ·8· · ·Q.· So you wouldn't have seen any of these      ·8· to IA.· There's· significant, sustained
       ·9· documents· before September 4th, 2009; correct?    ·9· findings.· You have an employee who's on
       10· · ·A.· Again, I don't recall specifically. I       10· probation.· That pretty much triggers an alarm,
       11· would have gotten -- they could've brought the     11· separate and apart from the IA case.· So if you
       12· file to me, not have given that.· I would not      12· have these sustained findings, and, you know,
       13· necessarily officially started an in depth         13· you have a panel saying we are sustaining it,
       14· review.· But my concern would've been triggered    14· then there must have been a discussion prior to
       15· right off the bat just looking at the              15· completing the entire case on the probationary.
       16· disposition panel findings -- looking at them      16· · ·Q.· So let me ask you this question:
       17· and sustaining certain charges, and not            17· · ·A.· Uh-huh.
       18· sustaining others.· I found conflict just in       18· · ·Q.· The findings in the closure -- excuse me.
       19· that.· So that's what prompted my review into      19· The findings in the -- of the disposition panel
       20· those charges.                                     20· --
       21· · ·Q.· No.· That I understand.· But it's           21· · ·A.· Yes.
       22· important that I try to establish a timeline       22· · ·Q.· That's not final though, correct?
       23· here.                                              23· · ·A.· It's not final until the director signs
       24· · ·A.· Okay.                                       24· off on it from a technical stand point.· But if
       25· · ·Q.· Because earlier you had testified that      25· he has his chain of command coming to him and


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       ·1· basically saying, you know, I don't know if he     ·1· goes to the director.· The director makes a
       ·2· had a conversation with them.· Who was the chair   ·2· decision whether to say I hear what you're
       ·3· captain -- to say this was what we found.· He      ·3· saying.· Let's move forward this way.· Let's
       ·4· could very well have said, you know this           ·4· move forward that way.· Let's do a dual track.
       ·5· behavior for someone on probationary -- I can't    ·5· In this case there was a dual track
       ·6· have it.                                           ·6· · ·Q.· So Mr. Fulford's probation was
       ·7· · ·Q.· When you say he, you mean --                ·7· terminated, because he was coming up for making
       ·8· · ·A.· The director.· The director is the only     ·8· that one year.· So you had to act quickly; is
       ·9· one final who would've had that final decision.    ·9· that correct?
       10· So he would've made that decision.                 10· · ·A.· A decision had to be made timely.· Yes.
       11· · ·Q.· That decision would have been without any   11· · ·Q.· Why -- what happened to innocent until
       12· independent review; correct?                       12· proven guilty?
       13· · ·A.· He would have relied specifically on his    13· · ·A.· Once again, the disposition panel found
       14· legal advisor, myself and the chain.               14· and sustained the findings.· So it was just --
       15· · ·Q.· Why take action against an employee, if     15· there was no turning back on that.· Unless there
       16· an investigation has not even been completed?      16· was something else.· There was a smoking gun in
       17· · ·A.· The investigation was complete.· What       17· the sustained findings.· Each individual that
       18· was --                                             18· reviewed it -- for example, the chief, myself --
       19· · ·Q.· Let me ask you this --                      19· did a quick review to say yes.· What the
       20· · · · ·MS. MOSELY:· No.· You have to let her       20· disposition panel was claiming, is there -- this
       21· finish· answering the question.· You asked her a   21· is what we have.· The final decision is up to
       22· question.                                          22· the director.
       23· BY MR. STORCH:                                     23· · ·Q.· And you had input into the director's
       24· · ·Q.· So why take action against an employee      24· decision?
       25· when the final decision, which has to be made by   25· · ·A.· We all had input.· Yes.
                                                   Page 78                                                Page 80
       ·1· the director has not yet been made?                ·1· · ·Q.· And when you say we all, who's that?
       ·2· · ·A.· Because there was sufficient evidence       ·2· · ·A.· Senior advisor, it would've been the
       ·3· that the behavior that was there was               ·3· chief.· And the disposition findings.· And the
       ·4· inappropriate for someone who's on probation,      ·4· chain that agreed with it all the way up until
       ·5· which is a separate track from disciplinary.       ·5· there.
       ·6· · ·Q.· Understood.· But at the time of this        ·6· · ·Q.· But that didn't happen until after
       ·7· letter, you had not reviewed the documents;        ·7· Mr. Fulford was terminated on the probation?
       ·8· correct?                                           ·8· · ·A.· No.· The chain of command would've
       ·9· · ·A.· I had reviewed primarily the disposition    ·9· reviewed it to a certain point.
       10· panel's findings.· Most likely.· That I recall.    10· · ·Q.· Now, I'm totally confused.· I'm sorry.
       11· · ·Q.· So you did receive documents before Chief   11· · ·A.· So you have the disposition panel.· So
       12· Bendros, because she didn't sign until September   12· Chief Bendros signs off on it, 094.· Closing her
       13· 4th?                                               13· review out.· That does not mean she did not
       14· · ·A.· That doesn't mean she didn't receive it.    14· receive it prior to then.· So again, labor
       15· Her signature may very well be her closing it      15· management would've said we have an issue.· This
       16· out.· Everybody does it different.· She would've   16· person's probation is.· Getting near to the end.
       17· raised a concern -- actually it would've been      17· There's a huddle.· The information is presented
       18· labor management raising as concern and saying     18· to the director and he makes his decision.· He
       19· we have an employee on probation.· So· from that   19· would have relied on and put from the senior
       20· point, if you have an employee on probation, you   20· advisor, and from Chief Bendros and from myself.
       21· have a certain behavior -- at least you have a     21· · ·Q.· Have there ever been instances where
       22· panel saying, look, we found this behavior.· And   22· someone's probation was -- strike that.
       23· anyone along the chain can kind of take a look     23· · ·Has there ever been instances where
       24· at it and say, yeah, we think there's enough       24· allegation were made against someone that were
       25· merit here.· That suggestion and recommendation    25· sustained, that ultimately ended up being


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       ·1· reversed and not sustained as those allegations,   ·1· · ·Q.· Is this your signature on this document?
       ·2· and therefore no action should have been taken?    ·2· · ·A.· Yes, it is.· I signed for it.
       ·3· · ·A.· There have been some cases.                 ·3· · ·Q.· When you sign for Director Ryan, do you
       ·4· · ·Q.· So knowing that, why terminate              ·4· let him know that you are signing, or do you
       ·5· Mr. Fulford's probation before you or the chain    ·5· have the authority to sign in his absence?
       ·6· of command had an opportunity to conduct a full    ·6· · ·A.· No.· I sign in his absence.· And
       ·7· review and listen to all of the tapes in all of    ·7· specifically something like this would be
       ·8· the documents and review all of the documents      ·8· just -- he was out, so I signed for it.· It had
       ·9· independently through the chain of command?        ·9· to get put out.
       10· · ·A.· Because once again, based on my             10· · ·Q.· Understood.· My -- but just so I
       11· recollection, looking at what the disposition      11· understand.· You have the authority to sign for
       12· panel had put together, and the evidence that      12· him in his absence?
       13· they stated that they relied on to sustain that    13· · ·A.· Yes.· He would've --
       14· it was sufficient for us to have a concern.· And   14· · ·Q.· Understood.
       15· based on the timeliness of the probation, the      15· · ·It says that's effective:· 12:01 a.m.,
       16· recommendation was made, and the director          16· Monday, September 7th, 2009.· The following
       17· decided to -- failure of probation.                17· assignment will take place.· And it talks about
       18· · ·Q.· And the failure of probation arises out     18· an assignment from -- the demotion from
       19· of these allegations of sexual harassment that     19· correctional sergeant to correctional corporal,
       20· were made against Mr. Fulford?                     20· correct?
       21· · ·A.· No.· Not the sexual harassment.· Those      21· · ·A.· Yes.
       22· were afterwards.                                   22· · ·Q.· This document, it seems to be given one
       23· · ·Q.· The termination of probation arises out     23· week before it becomes effective, correct?
       24· of what conduct?                                   24· · ·A.· Yes.
       25· · ·A.· The behavior that was noted in the          25· · ·Q.· What is this two week notification period
                                                   Page 82                                                Page 84
       ·1· sustained allegations.· The allegations that       ·1· that states it's been administratively --
       ·2· were sustained prior to my memorandum.             ·2· · ·A.· The Collective Bargaining Association
       ·3· · ·Q.· Has there ever been an instance -- let me   ·3· requires two week notification of transfers.
       ·4· ask you this:· And everyone had to act quickly,    ·4· And so that's pretty much there to say it's more
       ·5· is my understanding then, because Mr. Fulford      ·5· of a way for personnel to calculate pay periods
       ·6· was coming up on making probation, correct?        ·6· and moving.
       ·7· · ·A.· Correct.                                    ·7· · ·Q.· Understood.· So that I understand -- just
       ·8· · ·Q.· And had he made probation, he would've      ·8· because I was a little confused by the one week
       ·9· had a right to appeal, correct?                    ·9· and the two week.
       10· · ·A.· You have a right to appeal.· That's         10· · ·A.· Two week --
       11· correct.                                           11· · ·Q.· I was reading it.· And I saying, okay. I
       12· · ·Q.· So everyone had to move fast to terminate   12· understand one week in between effectiveness.
       13· his probation prior to him having the right to     13· But then we're talking about two weeks.· And I
       14· appeal; correct?                                   14· was getting confused.
       15· · ·A.· That was based on the timeliness.· Yes.     15· · ·Is the -- this two week period that's being
       16· · ·Q.· Understood.· I'm going to take a restroom   16· waived, that's something different than the one
       17· break.                                             17· week period?
       18· · · · · ·(OFF THE RECORD AT 3:17 P.M.)             18· · ·A.· It's -- it's not.· I don't know how to
       19· · · · ·(BACK ON THE RECORD AT 3:26 P.M.)           19· explain it.· It's more of a personnel -- for
       20· BY MR. STORCH:                                     20· personnel action.· Usually you give someone two
       21· · ·Q.· Also, on September 1st, 2009 there's a      21· weeks notice before you move -- you transfer
       22· memorandum from Director Tim Ryan, regarding       22· them.· In this particular case it's not being
       23· Mr. Fulford.· I'll ask you to take a look at       23· transferred.· It's a demotion, because he
       24· this, please, Ms. Guevara.                         24· remains in the same location and time frame,
       25· · ·A.· Okay.                                       25· minus 30 minutes.· But it's more of a personnel


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       ·1· action.· So they know the two weeks was            ·1· · ·Q.· To administratively waive this period,
       ·2· administratively waived.· So you're required to    ·2· are there any?
       ·3· give somebody two weeks notice in the change of    ·3· · ·A.· Transfer period.
       ·4· assignment.                                        ·4· · ·Q.· Are there any requirements?
       ·5· · ·Q.· If the two week period was being waived,    ·5· · ·Meaning, does the employee have to consent to
       ·6· why give a week then?                              ·6· that waiver?
       ·7· · ·I'm trying to understand.                       ·7· · ·A.· For an administrative waive, no.· There
       ·8· · ·A.· Yes.· Just because the memo may have been   ·8· has to be merit behind it.· Obviously, the
       ·9· dated September 1st, and the date was the 7th.     ·9· police benevolent association would not allow us
       10· · ·Q.· Is there any requirement that one week be   10· to move someone from one point to another
       11· given for a transfer?                              11· without some reason.
       12· · ·A.· No.                                         12· · ·Q.· The police benevolent association, that's
       13· · ·Q.· What about this two week, is there any      13· the PBA, the Union, correct?
       14· requirement to give two weeks?                     14· · ·A.· Yes.
       15· · ·A.· There's a two week notice that you give     15· · ·Q.· Okay.· And according to the -- to that
       16· an employee, unless there's administrative         16· memo --
       17· action that waives it.                             17· · ·A.· Uh-huh.
       18· · ·Q.· Is there any requirement for a waiver?      18· · ·Q.· You said that his shift was being changed
       19· · ·I assume that this sentence:· The employee      19· by 30 minutes, correct?
       20· two week notification period is being              20· · ·A.· Yes.· And then it's based on the actual
       21· administratively waived is in there for a          21· classification.· The sergeant start on the hour,
       22· reason?                                            22· and corporals and officers start on the half
       23· · ·A.· Yes.· You always want to give an employee   23· hour.
       24· two week notice before you transfer assignment.    24· · ·Q.· Understood.· Very communicated operation.
       25· This is again more of a personnel action to do     25· · ·I'm going to show you Article 39, Transfer,
                                                   Page 86                                                Page 88
       ·1· for the pay code -- the par -- the personnel and   ·1· Schedules and Shift Rotations.
       ·2· attendance record, so that they know effective     ·2· · ·We can put a mark over this exhibit sticker.
       ·3· the 7th is when he goes to become a corporal.      ·3· It's from the prior deposition.· Okay.
       ·4· And this is just basically saying, you know,       ·4· · ·So according to Article 39, Transfer,
       ·5· two weeks that we usually give folks is waived.    ·5· Schedules and Shift Rotations, it's the right of
       ·6· · ·Q.· When you say that we usually give -- is     ·6· the department director to transfer employees
       ·7· there a requirement --                             ·7· between units within their department for
       ·8· · ·A.· Yes.                                        ·8· reasons that improve the effectiveness, or
       ·9· · ·Q.· Is there a requirement?                     ·9· efficiency of the department, correct?
       10· · ·A.· The PBA, the Collective Bargaining          10· · ·A.· Yes.
       11· Association requires the two week notice for a     11· · ·Q.· However, when a transfer means a change
       12· change in assignment -- a transfer from one        12· in work, hours or days off, the employee shall
       13· location to another location.                      13· be notified in writing no less than fourteen
       14· · ·Q.· So is it -- transfer, meaning that two      14· calendar days prior to a transfer to another
       15· week period is only given when you are moved       15· district or a bureau, in order to enable an
       16· from one location to another?                      16· employee to arrange for an orderly change,
       17· · ·A.· That's correct.                             17· correct?
       18· · ·Q.· It has nothing to do with any time given    18· · ·A.· Yes.
       19· for a demotion?                                    19· · ·Q.· According to this memo, Mr. Fulford had a
       20· · ·A.· No.· It's specifically --                   20· change in work hours, correct?
       21· · ·Q.· Okay.                                       21· · ·A.· Yes, by 30 minutes.
       22· · ·A.· And it was there just because that's the    22· · ·Q.· Okay.· The notice may be waived upon
       23· way the do transfer assignments.· And this is      23· consent of the employee, or if the transfer is
       24· basically -- more of a demotion memo.· But it      24· declared an emergency by the department director
       25· was typed up in a transfer, type format.           25· or division chief, correct?


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       ·1· · ·A.· Yes.                                        ·1· correct?
       ·2· · ·Q.· Did Mr. Fulford consent to the transfer?    ·2· · ·A.· That's correct.
       ·3· · ·A.· Not that I'm aware of.· He may have.        ·3· · ·Q.· Okay.· And we already established that
       ·4· · ·Q.· I asked a horrible question.                ·4· Mr. Fulford didn't consent to the waiver?
       ·5· · ·A.· Okay.                                       ·5· · ·A.· Correct.· And we established that it
       ·6· · ·Q.· Did Mr. Fulford agree to the waiver of      ·6· meets the PBA by the one week.
       ·7· the two week notification period?                  ·7· · ·Q.· Well, we've established that the
       ·8· · ·A.· Not that I'm aware of.                      ·8· effectiveness was September 7th, and the date of
       ·9· · ·Q.· Was the transfer declared an emergency by   ·9· this letter is September 1st?
       10· the department director or division chief?         10· · ·A.· Which is one week.
       11· · ·A.· Not that I'm aware of.                      11· · ·Q.· One week.· But I'm talking about the
       12· · ·Q.· So why was the two week notification        12· two-week period.
       13· waived?                                            13· · ·A.· Right.· But this doesn't require a
       14· · ·A.· Again, administratively, the department     14· two-week period if he's within the same bureau.
       15· has the right to do that in these kind of cases.   15· · ·Q.· This space -- when a transfer means a
       16· · ·Q.· When you say these kind of cases, what do   16· change in work, hours or days off, the employee
       17· you mean?                                          17· shall be notified in writing no less than 14
       18· · ·A.· Prior to this he was a sergeant.· Upon      18· calendar days prior to a transfer to another
       19· being demoted, he was a corporal.· So there's a    19· district or bureau in order to enable the
       20· different assignment.                              20· employee to arrange for an orderly change.
       21· · ·Q.· Understood.· But according to Article       21· · ·A.· Right.· keep going.
       22· 39 --                                              22· · ·Q.· Such --· you can read.
       23· · ·A.· Uh-huh.                                     23· · ·A.· Such notice and the location of the new
       24· · ·Q.· Notice can be waived only upon consent of   24· assignment and the reason for transfer.
       25· an employee, or if the transfer is declared an     25· Transfers within the same division or bureau
                                                   Page 90                                                Page 92
       ·1· emergency by the department director or the        ·1· shall require.· Seven calendar days prior to the
       ·2· division chief, correct?                           ·2· transfer.· Which this meets.
       ·3· · ·A.· It also says in this particular case --     ·3· · ·Q.· But we're talking about the notice.
       ·4· we have administratively waive it.· And I don't    ·4· · ·A.· Right.· Seven days.
       ·5· know where to direct you to find that.· But I      ·5· · ·Q.· The waiver.
       ·6· can say in this case its says:                     ·6· · ·A.· Right.· No.· But this transfer happened
       ·7· · ·Transfers within the same district or bureau,   ·7· within seven days.
       ·8· which is this one.· Requires 7 days notice prior   ·8· · ·Q.· Then why even make a comment about --
       ·9· to transfer, which he had.                         ·9· · ·A.· Again, because -- again, it's standard on
       10· · ·Q.· Understood.· I'm talking only about the     10· every transfer.· But within the bureau, the
       11· two-week.· I'm not talking about the one-week.     11· Collective Bargaining Agreement allows the
       12· · ·A.· Yeah.· But the one week is in compliance    12· transfer to take place within one week, if it's
       13· with the PBA, if that's where you're going.· But   13· the same bureau.
       14· administratively -- I'll give you an example.      14· · ·Q.· But we have established that hours were
       15· · ·If someone is under investigation, and you      15· changed, correct?
       16· need to move them from a facility to another       16· · ·A.· Right.· And even with the change, as long
       17· facility, that is a transfer.· The transfer is     17· as it's within the same bureau, you don't need a
       18· not going to take two weeks.· We do it             18· two-week.· You can do it within a one week.
       19· immediately the next work day.· And say            19· · ·Q.· And we understood that the September 1st
       20· administratively waive in two-week.· The PBA is    20· date was -- action had to be taken so that
       21· aware they will says is there an investigation     21· Mr. Fulford could not make probation?
       22· going on?· And we'll· say yes.· And they back      22· · ·A.· No.· This is actually -- he's already
       23· off because of extenuating circumstances.          23· going to -- from a sergeant to a corporal.· And
       24· · ·Q.· I understand that.· But we already          24· actually I think he was already at that time.
       25· established that there was no emergency,           25· · ·Q.· Same date?· September 1st, 2009?


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       ·1· · ·A.· Right.                                      ·1· · · · ·MS. MOSELY:· Okay.
       ·2· · ·Q.· So the action --                            ·2· BY MR. STORCH:
       ·3· · ·A.· This is a demotion, and this is the         ·3· · ·Q.· So my question is, why would a letter be
       ·4· transfer reflecting the demotion from sergeant     ·4· dated September 1st, but then instruction given
       ·5· to corporal.                                       ·5· not to deliver the letter until two days later?
       ·6· · ·Q.· And the action needed to be taken           ·6· · ·A.· It may have been his two days off. I
       ·7· quickly, because --                                ·7· don't know. But I have to go back and look at
       ·8· · ·A.· Timely.                                     ·8· dates.· It may have been his two days off.
       ·9· · ·Q.· -- Because he was going to be --            ·9· · ·Q.· If Mr. Fulford was at work on September
       10· · ·A.· Yes.· And I don't know exactly when he      10· 1st, September 2nd and September 3rd, would
       11· would've made his probation.                       11· there be any reason to delay giving him the
       12· · ·Q.· September 22nd.                             12· demotion letter?
       13· · ·A.· Okay.                                       13· · ·A.· I would not know of any reason.
       14· · ·Q.· So --                                       14· · ·Q.· As far as evaluations while you're on
       15· · ·A.· The action had to be timely.· Yes.· And     15· probation, can you tell me how that works?
       16· he's actually out during that time.                16· · ·A.· Specially?
       17· · ·Q.· Understood.                                 17· · ·Q.· How often?· Is it a six month evaluation?
       18· · ·A.· Okay.                                       18· And then another six months would make it -- so
       19· · ·Q.· Do you know if efforts were made to give    19· basically, sis it a mid-year and an annual?· Or
       20· Mr. Fulford this demotion memorandum on            20· is it informal?
       21· September 1st?                                     21· · ·How does that work?
       22· · ·A.· Yes.· I remember -- I recall trying to      22· · ·A.· There were monthly evaluations.· And
       23· reach Sergeant Fulford.· But he was out on         23· again, based on my recollection, there were
       24· leave, or couldn't be found.                       24· monthly evaluations at some point that were
       25· · ·Q.· Mr. Fulford didn't go out on leave until    25· started.· And then there was a year.· And there
                                                   Page 94                                                Page 96
       ·1· September 3rd.· He -- well, he left early on       ·1· should always be communications between the
       ·2· September 3rd.· So there was at least two and      ·2· supervisor and employee.
       ·3· half days in between that time period.             ·3· · ·Q.· Understood.
       ·4· · ·Do you know if any efforts were made to give    ·4· · ·Are you aware that during his time as a
       ·5· him that document indicating his demotion          ·5· probationary sergeant, Mr. Fulford received
       ·6· between those --                                   ·6· above satisfactory outstanding monthly
       ·7· · ·A.· From what I recall, yes.· And he was not    ·7· evaluations?
       ·8· -- they could not locate him for the signature.    ·8· · ·A.· I can't say I recall right now.· But if
       ·9· So I know went to the facility.· The captain was   ·9· it was in the IA case, it would have been looked
       10· supposed to serve it.· The captain couldn't.· He   10· at, and his personnel file would've been looked
       11· was unable to serve it.· It came back to           11· at.
       12· headquarters, and we couldn't reach Mr. Fulford.   12· · ·Q.· Certainly.· And that would have, or
       13· I'm just going based on recollection.              13· should have had some sort of weight to it?
       14· · ·Q.· Certainly.· So Ms. Bendros testified in     14· · ·A.· Sure.
       15· the arbitration that the September 1st, 2009       15· · ·Q.· So if it's monthly evaluation, and all of
       16· letter terminating Mr. Fulford's probationary      16· these allegations, I guess, are -- I'll say
       17· status as a sergeant, that she was given the       17· coming to a closure in some time in September of
       18· letter to present the captain of TGK, who          18· 2009, he would've -- Mr. Fulford would have
       19· reported directly to Ms. Bendros, with the         19· received a poor evaluation, as a result of this,
       20· direction that she was going to serve              20· correct?
       21· Mr. Fulford on September 3rd.                      21· · ·A.· No.· Not necessarily.· Because, again,
       22· · ·A.· Okay.                                       22· this is part of an IA case that may not have
       23· · · · ·MS. MOSELY:· Objection.· Form.              23· been known to the supervisor.· So the findings
       24· BY MR. STORCH:                                     24· would not have been known to the line for
       25· · ·Q.· I didn't ask the question.                  25· supervisor.


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       ·1· · ·Q.· The line for supervisor and the chain of    ·1· · ·A.· If he wasn't coming up for probation,
       ·2· command, is that different?                        ·2· there would be no action.
       ·3· · ·A.· Yes.                                        ·3· · ·Q.· I'm -- just so I understand --
       ·4· · ·Q.· But his supervisors would've known that     ·4· · ·A.· Uh-huh.
       ·5· something was going on, because like you           ·5· · ·Q.· If Mr. Fulford had been in his second
       ·6· testified earlier, he was transferred somewhere?   ·6· month of being a sergeant --
       ·7· · ·A.· Not necessarily the specifics of it.· You   ·7· · ·A.· Yes, sir.
       ·8· have a lieutenant and a sergeant who was being     ·8· · ·Q.· There would have been no need to send a
       ·9· directly supervised by a shift lieutenant.· And    ·9· letter of -- terminating his probation, because
       10· you have an administrative lieutenant and you      10· the entire investigation would have been closed
       11· have a captain.· A shift lieutenant would've not   11· by the time he would -- his -- he would've made
       12· have known the reason for his transfer.            12· probation.· I think that's the term.
       13· · ·Q.· The captain?                                13· · ·A.· So let me review it to make sure I'm
       14· · ·A.· The captain would've been.                  14· understanding your question.
       15· · ·Q.· And is the captain required to sign         15· · ·If he -- are you saying that if he only had
       16· monthly evaluations?                               16· two months of probation, he would've had to
       17· · ·A.· I don't know if they are required to sign   17· worry about failing his probation?
       18· monthly or not.· I can't recall that.              18· · ·Q.· No.· I'm sorry.
       19· · ·Q.· Did you ever have any discussion with       19· · ·A.· Okay.
       20· Captain Fuller about any monthly evaluations of    20· · ·Q.· Thank you for telling me you did not
       21· Mr. Fulford?                                       21· understand.
       22· · ·A.· No.                                         22· · ·If Mr. Fulford had been promoted in January
       23· · ·Q.· So if someone was to testify that you       23· of 2016 -- January 1st, 2016, Mr. Fulford had
       24· told them not to give a good evaluation, or an     24· been promoted, and he was a probationary
       25· evaluation at all to Mr. Fulford, for September    25· sergeant at that point, correct?
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       ·1· of 2009, that would be false; correct?             ·1· · ·A.· At this time he was a probationary
       ·2· · ·A.· That's correct.                             ·2· sergeant.· Yes.
       ·3· · ·Q.· Okay.· So we talked a little about the --   ·3· · ·Q.· If Mr. Fulford, on December 31st, 2015
       ·4· a little bit more than just a little about the     ·4· was a corporal, and on January 1st, 2016, he was
       ·5· demotion.                                          ·5· promoted to sergeant starting January 1st 2016,
       ·6· · ·A.· Yes.                                        ·6· he would have been a probationary sergeant,
       ·7· · ·Q.· But there's another aspect to it,           ·7· correct?
       ·8· correct?· Discipline?                              ·8· · ·A.· Okay.
       ·9· · ·A.· Yes.                                        ·9· · ·Q.· Is that correct?
       10· · ·Q.· Okay.· Tell me about the discipline part    10· · ·A.· I'm not following you.· But --
       11· of this.                                           11· · ·Q.· What I'm trying to establish is, that you
       12· · ·A.· Specifically?                               12· have one year of --
       13· · ·Q.· At what point is discipline discussed?      13· · ·A.· There's a year.· Yes.· You are on
       14· · ·A.· Discipline would be discussed after the     14· probation for a year.
       15· director has finalized his findings.· His          15· · ·Q.· So if he was promoted January 1st, of
       16· findings of -- you know, what he wants to          16· 2016, he would be a probationary sergeant until
       17· uphold.· And then it goes back to upper            17· December 31st,· 2016?· The entire year?
       18· management to put the charging document            18· · ·A.· Yeah.· Actually, the January -- however
       19· together.· And then it goes to give a              19· they do it.· So it would be January 1st.
       20· recommended level of discipline.· And then it      20· · ·Q.· Got it.· So if these allegations were
       21· goes back through the chain of command.            21· made February 1st, 2016 -- so one month into his
       22· · ·Q.· Had Mr. Fulford not been coming up on the   22· probationary status.
       23· end of his probation, there would've been no       23· · ·A.· Yes.
       24· need to issue any type of early termination of     24· · ·Q.· There would've been no need to terminate
       25· his probation, correct?                            25· his probation quickly.· Meaning, there would


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       ·1· have been no need to act quickly, because there    ·1· other types of administrative punishment,
       ·2· was still basically almost a full year for the     ·2· because it would make sense to me that at the
       ·3· investigation to go on; is that correct?           ·3· end, you have all of the facts.· So why not
       ·4· · ·A.· No.· Not necessarily.· I believe based on   ·4· wait?
       ·5· the discussions that we had had and the findings   ·5· · ·A.· Well, once again, the facts were all
       ·6· that the disposition came back with, even if all   ·6· present.· Whether we agreed on all of the facts
       ·7· he was on probation for a month, we would've       ·7· or not, the director once presented with the
       ·8· failed his probation.                              ·8· facts was the one that made the decision to move
       ·9· · ·Q.· But I thought that the labor management,    ·9· forward.· So --
       10· or chain of command recognized that his            10· · ·Q.· Without any independent review then?
       11· probation was coming up, so you had to act         11· · ·A.· He -- I believe he had enough trust and
       12· quickly?                                           12· faith in his senior legal advisor and his chain.
       13· · ·A.· We didn't have to act quickly.              13· · ·Q.· So this 30 day disciplinary issue, was
       14· · ·Q.· So you wouldn't have had to act quickly     14· that handed down immediately?
       15· if his probation was not coming up?                15· · ·A.· No.· It was not.
       16· · ·A.· We wouldn't had to act as quickly.· But     16· · ·Q.· Do you know -- do you recall when it was
       17· we would not have waited the entire way.· In       17· handed down?
       18· other words, we would have moved forward to        18· · ·A.· I don't recall.· I don't know that it
       19· terminate the probation even before the whole      19· took too long.
       20· file was completed.· We would've taken the same    20· · ·Q.· Why?
       21· action.· There would not have been as much         21· · ·A.· I cannot explain why.
       22· pressure to make sure.· But the probationary       22· · ·Q.· If everything was rushed to get his
       23· would've failed.· Even if he was under a one       23· probation terminated, because he was coming up
       24· month of probation it may have been even           24· on making probation, why couldn't the department
       25· quicker, because if you have a person -- a         25· act with the same quickness to give him his
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       ·1· person that's on their best behavior, if you're    ·1· discipline?
       ·2· on probation one month, and this is the behavior   ·2· · ·A.· I cannot speak to what may have caused
       ·3· that's coming out, it's pretty concerning.· And    ·3· the, length in finalizing the discipline.
       ·4· so the probation would've probably failed.· It     ·4· Sometimes it's a matter of getting all the
       ·5· might have failed quicker.                         ·5· people together.· Sometimes it's a matter of
       ·6· · ·Q.· When you say you're on your best behavior   ·6· getting together with the attorney, and the
       ·7· -- when the individual is only on probation,       ·7· arbitrator, and scheduling with the other side.
       ·8· because you recognized excellence in them and      ·8· Sometimes it's the defendant's attorney that
       ·9· promoted them?                                     ·9· can't meet certain dates.· So I can't speak to
       10· · ·A.· Correct.                                    10· what occurred.
       11· · ·Q.· So I guess I'm confused why would you be    11· · ·Q.· But it was no problem getting everyone
       12· on your best behavior during probation if you've   12· together quickly for the termination of his
       13· been displaying the behavior needed to be          13· probation, correct?
       14· promoted?                                          14· · ·A.· Well, I would say that's a sole
       15· · ·A.· Let's say you just get promoted -- you've   15· department function.· So we can move a lot
       16· gotten promoted, and you're doing great.· You      16· quicker than having to rely on three and four
       17· tested well.· Your profile looks good.· You get    17· other parties
       18· promoted, and all of a sudden you decided that     18· · ·Q.· Ultimately, the 30-day suspension was
       19· you're going to take off every Friday.· You        19· served, correct?
       20· become an attendance issue.· That becomes a        20· · ·A.· That's correct.
       21· concern.· You fail your probation.                 21· · ·Q.· And ultimately an arbitrator found that
       22· · ·Q.· Got it.· How often is an investigation      22· shouldn't have been the case; is that correct?
       23· finished -- let me ask you this question:          23· · ·A.· I believe there was a due process
       24· · ·Why not wait until the end of the               24· concern.
       25· investigation to hand out discipline and any       25· · ·Q.· And as a result, Mr. Fulford -- it was

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       ·1· determined should not have been suspended for 30   ·1· consistency.
       ·2· days, correct?                                     ·2· · ·Q.· So in this case, it would seem that the
       ·3· · ·A.· Yes.· Based on that due process.            ·3· initial reaction or recommendation was demotion,
       ·4· · ·Q.· And as a result, Mr. Fulford was --         ·4· correct?
       ·5· excuse me.                                         ·5· · ·A.· Correct.
       ·6· · ·As a result, the department was required to     ·6· · ·Q.· And then, ultimately it seems that that
       ·7· pay Mr. Fulford for those 30 days that he          ·7· demotion was reduced to a 30-day suspension?
       ·8· missed?                                            ·8· · ·A.· That's correct.
       ·9· · ·A.· That's correct.                             ·9· · ·Q.· Who would reduce the recommendation of
       10· · ·Q.· Or 30 days that he was suspended for?       10· demotion to a 30-day suspension?
       11· · ·A.· That's correct.                             11· · ·A.· Ultimately it's the director's decision.
       12· · ·Q.· On the bottom of the DAR there is some      12· However, there's a chain of command memo with
       13· writing.                                           13· that discipline being recommended that would go
       14· · ·Could you tell me what it stands for?           14· all the way up to him.· He would make the final
       15· · ·A.· Where it says demotion reduced to 30-days   15· decision.
       16· suspension?                                        16· · ·Q.· Are you involved in --
       17· · ·Q.· Yes.                                        17· · ·A.· I would have been.· Yes.
       18· · ·A.· Yes.· Demotion reduced to 30-days           18· · ·Q.· Okay.· And your recommendation though --
       19· suspension.                                        19· strike that.
       20· · ·Q.· Is that accurate?                           20· · ·The -- do you recall when the recommendation
       21· · ·A.· Yes.                                        21· was made from demotion to 30-day suspension?
       22· · ·Q.· I thought that Mr. Fulford was demoted      22· · ·A.· I would have to look at the actual
       23· and received the 30 days suspension?               23· tracking of the discipline.
       24· · ·A.· The demotion to 30-days suspension there    24· · ·Q.· Okay.· Someone who had allegations
       25· is specifically related to the disciplinary        25· similar to Mr. Fulford's -- meaning, allegations
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       ·1· action.· So the disciplinary action -- actually,   ·1· against him --
       ·2· there was a recommendation for demotion.· It       ·2· · ·A.· Yes.
       ·3· would've been a double demotion.                   ·3· · ·Q.· -- would have received the exact same
       ·4· · ·Q.· I'm now totally confused.                   ·4· recommendations, correct?
       ·5· · ·A.· Okay.· So --                                ·5· · ·A.· From labor management?
       ·6· · ·Q.· I --                                        ·6· · ·Q.· Overall the recommendations as to any
       ·7· · ·A.· This is disciplinary only.· This is         ·7· administrative issues or discipline would be the
       ·8· nothing to do with probation.                      ·8· same for someone who had allegations levied
       ·9· · ·Q.· Question --                                 ·9· against them similar to the ones against
       10· · ·A.· Okay.                                       10· Mr. Fulford, correct?
       11· · ·Q.· Can you be -- can an employee be demoted    11· · ·A.· Not a yes or no.· The reason I'm asking
       12· in the disciplinary process?                       12· labor management is, because labor management is
       13· · ·A.· Yes.                                        13· specifically the violations.· They don't take
       14· · ·Q.· And an employee can be demoted in the       14· the person's profile into account.· As it goes
       15· administrative process?                            15· up the chain of command, each of those
       16· · ·A.· An employee's probation could be failed     16· individual supervisors we're required to take
       17· in the administrative process.                     17· the person's professional profile into account.
       18· · ·Q.· Got it.· So as far as these allegations     18· So that you can have two similar charges, and
       19· are concerned, the demotion to a 30-day            19· there could be mitigating or aggravating factors
       20· suspension -- who recommended demotion?            20· that you have to weigh into the final
       21· · ·A.· I would have to see if it was the labor     21· recommendation for the discipline.· And then the
       22· management -- the actual base recommendation.      22· director looks at all of those things and makes
       23· · ·Q.· Is labor management responsible for         23· the final decision.
       24· making recommendations regarding disciplinary?     24· · ·Q.· And the final decision of the director
       25· · ·A.· Yes.· They will identify the base for       25· is?


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       ·1· · ·A.· In this case --                             ·1· investigation into allegations against
       ·2· · ·Q.· -- with input from you, as part -- as the   ·2· Lieutenant Mariette Dominguez.
       ·3· deputy director at the time?                       ·3· · ·Have you ever seen that document?
       ·4· · ·A.· Yes.                                        ·4· · ·A.· I would have seen it.· Yes.
       ·5· · ·Q.· Are you familiar with a lieutenant          ·5· · ·Q.· So let's go through a couple of things.
       ·6· Mariette Dominguez?                                ·6· · ·So some of the allegations are:
       ·7· · ·A.· Yes, I am.                                  ·7· · ·Lieutenant Dominguez harassed her staff by
       ·8· · ·Q.· Can you tell me how, or how you're          ·8· threatening and intimidating them.
       ·9· familiar with her?                                 ·9· · ·Do you see that?
       10· · ·A.· Because you mentioned her previously in     10· · ·A.· Uh-huh.· Yes.
       11· the beginning of the deposition.                   11· · ·Q.· And number four, Lieutenant Dominguez
       12· · ·Q.· Were you not familiar with her before I     12· created a hostile work environment?
       13· mentioned her name?                                13· · ·A.· Yes.
       14· · ·A.· Of course.· She was a lieutenant in the     14· · ·Q.· Number five, on various occasions in an
       15· department.                                        15· open environment Lieutenant Dominguez made
       16· · ·Q.· So you had some interactions with her?      16· unwelcoming sexual gestures, towards staff by
       17· · ·A.· Yes.                                        17· grabbing her breast and her crouch area in a
       18· · ·Q.· How often would you say you had             18· derogatory manner.· Do you see that?
       19· interactions?                                      19· · ·A.· Yes.
       20· · ·A.· I couldn't say.· Every once and a while.    20· · ·Q.· On various occasion Lieutenant Dominguez
       21· · ·Q.· Once a month?· Once a week?                 21· made unprofessional gender based comments to
       22· · ·A.· Maybe once a month during command staff     22· staff, by telling the male employees that she
       23· meetings.                                          23· had "bigger balls, and her balls were bigger
       24· · ·Q.· Did anyone ever complain about              24· than there's."
       25· Ms. Dominguez?                                     25· · ·A.· Yes.
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       ·1· · ·A.· Yes.                                        ·1· · ·Q.· On various occasions Lieutenant Dominguez
       ·2· · ·Q.· On more than one occasion?                  ·2· engaged in unprofessional conduct by openly
       ·3· · ·A.· I believe at lease on two occasions.        ·3· kissing, hugging, pinching and squeezing Officer
       ·4· · ·Q.· And were both of those complaints sexual    ·4· Hernandez and made it an uncomfortable working
       ·5· harassment?                                        ·5· environment for other staff?
       ·6· · ·A.· No.                                         ·6· · ·A.· Yes.
       ·7· · ·Q.· Can you tell me what those were about?      ·7· · ·Q.· Lieutenant Dominguez engaged in
       ·8· · ·A.· If I remember -- I recall -- it was more    ·8· unprofessional conduct by referring to her
       ·9· of her style of management.· She was rude.· She    ·9· breast as sagging, hanging and stating "The
       10· could be bolder.· ·So she created a hostile        10· headlights are on."?
       11· environment.· Not sexual harassment, but           11· · ·A.· Yes.
       12· hostile.                                           12· · ·Q.· Lieutenant Dominguez made negative and
       13· · ·Q.· Do you recall if there was ever any         13· unprofessional gender based comments.· "Men not
       14· sexual harassment that were made?                  14· doing anything right.· They are only good for
       15· · ·A.· I think the last case may have included     15· one thing.· You are just a man." -- to male
       16· something.· I would have to look at it             16· staff in the presence of others?
       17· specifically.· I don't recall.                     17· · ·A.· Yes.
       18· · · · ·MS. MOSELY:· Is it your intention to show   18· · ·Q.· And that's a sexual harassment
       19· documents that involve notes with underlines on    19· allegation, correct?
       20· it?                                                20· · ·A.· They classified that as misconduct and
       21· · · · ·MR. STORCH:· Yes.· It's not a problem.      21· not sexual harassment.
       22· BY MR. STORCH:                                     22· · ·Q.· So this next comment -- that Lieutenant
       23· · ·Q.· Okay.· So here is a document.· It's dated   23· Dominguez made inappropriate and explicit sexual
       24· May 19th, 2011.· It's a -- from Jacqueline         24· comment regarding a calendar of men that was
       25· Howard, from the IA unit.· And it's an             25· hanging in her office by stating -- "I would


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       ·1· fuck anyone of these guys on this board without    ·1· be demoted, administratively, or with
       ·2· hesitation.· And no it's not cheating because      ·2· discipline?
       ·3· I've already told my husband the same think.       ·3· · ·A.· No.· Sorry.· It cannot be done
       ·4· I'll do it in front of him."?                      ·4· administratively.· It has to be done through a
       ·5· · ·A.· Yes.                                        ·5· disciplinary --
       ·6· · ·Q.· Lieutenant Dominguez made an                ·6· · ·Q.· Okay.· Understood.
       ·7· unprofessional, inappropriate and explicit         ·7· · ·So do you know if -- well, we spoke about the
       ·8· comment by stating:                                ·8· concern -- again, from the supervisor
       ·9· · ·"Well, if they rape me, they better fuck me     ·9· position -- and why was there no recommendation
       10· good.· I'm not worried about the money.· They      10· for a demotion for Ms. Dominguez?
       11· can have the money.· As long as they rape me,      11· · ·A.· I would have to see what the
       12· they better fuck me good."                         12· recommendation was and -- what you read were the
       13· · ·A.· Yes.                                        13· allegations.· What the actual findings were
       14· · ·Q.· Do you see Lieutenant Dominguez made        14· also.· So it's not just the allegations.· It was
       15· unprofessional and unwelcoming sexual comments     15· sustained.
       16· towards· staff.· Such as:· "They ripped me a new   16· · ·Q.· Certainly.· And by the three person
       17· asshole.· And I'm not bending over taking this     17· panel?
       18· for you guys anymore."?                            18· · ·A.· Yeah.· And in the end.· Yes.
       19· · ·A.· Yes.                                        19· · ·Q.· I just want to go through some of the
       20· · ·Q.· Those allegations that I read to you,       20· allegations.
       21· would you agree with me that they're sexual in     21· · ·Can you read this paragraph for me?
       22· nature?                                            22· · ·A.· It stated that on occasions and openly
       23· · ·A.· They are.                                   23· Lieutenant Dominguez grabbed her breast and
       24· · ·Q.· Okay.· Are they alarming at all?            24· indicated that her breast was something that
       25· · ·A.· Absolutely.                                 25· they -- the officers did not have.· Lieutenant

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       ·1· · ·Q.· Are they alarming -- I know that we'd       ·1· Dominguez stated that she was more capable in
       ·2· previously spoken about, you know, a supervisor    ·2· getting things done than a man.
       ·3· making comments.                                   ·3· · ·Q.· Would you characterize that as something
       ·4· · ·Is it alarming to you that a lieutenant is      ·4· sexual?
       ·5· making these comments?                             ·5· · ·A.· I think it's totally inappropriate.
       ·6· · ·A.· Sure.· That would be unacceptable.          ·6· · ·Q.· But is it sexual?
       ·7· · ·Q.· Okay.· Do you know how this case against    ·7· · ·A.· There are connotations of grabbing her
       ·8· Ms. Dominguez was started?                         ·8· breast.· That's sexual connotations.
       ·9· · ·A.· I believe if I could read from the          ·9· · ·Q.· And that would be inappropriate in the
       10· beginning?                                         10· work place?
       11· · ·Q.· Of course.                                  11· · ·A.· Absolutely.· It's inappropriate.
       12· · ·A.· I believe staff members were complaining    12· · ·Q.· Read those two paragraphs for me, please.
       13· to the fair employment practice individual.        13· · ·A.· Just the underlined part?
       14· Yes.· That's what it was.                          14· · ·Q.· You can just read this first paragraph.
       15· · ·Q.· What's her name?                            15· · ·A.· This one?
       16· · ·A.· He Efran Kelly.                             16· · ·Q.· This one where Corporal Max stated that
       17· · ·Q.· Okay.                                       17· --
       18· · ·A.· She received an anonymous complaint in      18· · ·A.· Okay.· Corporal Max stated that --
       19· the form of a letter.                              19· · ·Q.· And just a little slower for the court
       20· · ·Q.· So -- and just so I understand, it          20· report.
       21· generally -- and I know we really beating a dead   21· · ·A.· Corporal Max stated that Lieutenant
       22· horse on Mr. Fulford's termination of probation.   22· Dominguez did not make any personal, sexual
       23· · ·If someone was in a position for over a         23· comment to her.· However, Lieutenant Dominguez
       24· year -- meaning, they had already made their       24· had sexual discussions with her secretary, Marta
       25· probation, can it still be recommended that they   25· Alvarez (phonetic).· Sometimes Corporal Max


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       ·1· would hear them talking while she was in her       ·1· · ·Q.· And the same thing about someone making
       ·2· office.· Corporal· Max stated that during a        ·2· an observation is present here is similar to how
       ·3· command staff meeting last year, Lieutenant        ·3· it was with Mr. Fulford, correct?
       ·4· Dominguez made an inappropriate comment about      ·4· · ·A.· Yes.
       ·5· having something put up her ass -- later and in    ·5· · ·Q.· Read this to yourself, because this is a
       ·6· presence Corporal stated and told Lieutenant       ·6· long paragraph.
       ·7· Dominguez that her comment was inappropriate.      ·7· · ·Could you read the first paragraph on this
       ·8· Lieutenant Dominguez stated that she did not       ·8· page.· I think it's page 15, correct?
       ·9· recall making any inappropriate statements, and    ·9· · ·A.· Page 15.
       10· if she did, she was sorry.                         10· · ·Just this top paragraph?
       11· · ·Q.· Would you agree with me that those          11· · ·Q.· Yes.
       12· comments are sexual in nature?                     12· · ·A.· Okay.
       13· · ·A.· They're inappropriate.· Yes.                13· · ·Q.· Did you see the portion of this paragraph
       14· · ·Q.· But they're sexual in nature?               14· where at a staff meeting Lieutenant Dominguez
       15· · ·A.· Well, if you're having someone put          15· said "I'll fight for y'all.· But they had my ass
       16· something up your butt, yes.                       16· spread this wide defending you all."· She --
       17· · ·Q.· And what about having sexual discussions    17· Lieutenant Dominguez used her hands to indicate
       18· with Secretary Marta Alvarez?                      18· how wide?
       19· · ·A.· Yes.· It's sexual discussion.· It's         19· · ·A.· Yes.
       20· sexual.                                            20· · ·Q.· Is that sexual in nature?
       21· · ·Q.· And you would agree that's inappropriate,   21· · ·A.· It's inappropriate.
       22· correct?                                           22· · ·Q.· Is it sexual in nature?
       23· · ·A.· Yes, it is.                                 23· · ·A.· Yes.· It's inappropriate.· It's sexual in
       24· · ·Q.· Is this similar to some of the              24· nature because it's dealing with the that.· Yes.
       25· allegations or some of the witness testimony       25· · ·Q.· Understood.· What about the allegation
                                                  Page 118                                               Page 120
       ·1· with regard to Mr. Fulford, where witnesses --     ·1· here from Officers Haines, where it's indicated
       ·2· for example, Frasier.· I think we spoke about.     ·2· that there was a complaint filed against
       ·3· · ·Didn't hear any comments, but supposedly        ·3· Lieutenant Dominguez for a hostile work
       ·4· witnessed something?                               ·4· environment.· But nobody ever informed of the
       ·5· · ·A.· Yes.                                        ·5· outcome of the case?
       ·6· · ·Q.· Okay.· Read this last paragraph for me.     ·6· · ·Does that concern you?
       ·7· · ·A.· Lieutenant Dominguez has not made any       ·7· · ·A.· Not necessarily, because any allegations
       ·8· personal, sexual comments or displayed any         ·8· that were made would've been looked at.· And
       ·9· sexual gestures to Officer Haines (phonetic).      ·9· when this case came there was no sustained prior
       10· Officer Haines has observed Lieutenant Dominguez   10· allegation.· So Lieutenant Dominguez is very
       11· grab her breast and tell her male officers, I      11· stern.· She writes a lot of folks up.· So
       12· can do that because I've got these, or this is     12· individuals came out and wanted her out of the
       13· what I breast feed by kids with.                   13· unit as well.
       14· · ·Officer Haines did not recall any specific      14· · ·Q.· Is it fair to say that people in that
       15· dates.· Officer Haines stated that this type of    15· unit, meaning, employees were a bit intimidated
       16· behavior happened more than once.                  16· or afraid of Lieutenant Dominguez?
       17· · ·Q.· Would you agree that that comment is        17· · ·A.· You would have to ask them.· I can't
       18· sexual in nature?                                  18· answer for them.· If there were no prior
       19· · ·A.· Yes.                                        19· allegations sustained prior to this case
       20· · ·Q.· And similar to the allegations against      20· regarding that.
       21· Mr. Fulford, where people testified that -- or     21· · ·Q.· Were it says Lieutenant Dominguez has
       22· made witness statements that no comments were      22· more rank than she does.· Due to that rank she
       23· made to them.· The same thing is happening here,   23· could make decisions regarding her performance
       24· correct?                                           24· evaluations and discipline.· Therefore, Officer
       25· · ·A.· Yes.                                        25· Haines, "let it go, because nothing is done when


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       ·1· you make a complaint against her."                 ·1· hugging, pinching and squeezing Officer
       ·2· · ·Is that evidence that there is at least one     ·2· Hernandez in front of staff?
       ·3· officer who is afraid of Lieutenant Dominguez?     ·3· · ·A.· Yes.
       ·4· · ·A.· I think you can make that case for a lot    ·4· · ·Q.· Is touching, hugging, pinching someone --
       ·5· of folks regarding supervisors.· Many times        ·5· to that person it may or may not be
       ·6· individual say they won't say anything, because    ·6· inappropriate, correct?
       ·7· they're scared of retaliation.· But obviously      ·7· · ·A.· Correct.
       ·8· there was a problem.                               ·8· · ·Q.· However, that type of behavior may be
       ·9· · ·Q.· So you can read this second paragraph to    ·9· offensive or inappropriate to someone else
       10· yourself.                                          10· around, correct?
       11· · ·A.· To myself?                                  11· · ·A.· Yes.· Correct.
       12· · ·Q.· Yes.· Have you had an opportunity to read   12· · ·Q.· To yourself, if you don't mind just
       13· that paragraph?                                    13· reading these four paragraphs.
       14· · ·A.· Yes.                                        14· · ·A.· Okay.
       15· · ·Q.· Did you see the part that it states         15· · ·Q.· So you saw the comment where Officer
       16· approximately two or three months prior to         16· Luster stated, that Lieutenant Dominguez said
       17· Lieutenant Dominguez's reassignment during staff   17· something about a wide anal hole, or somebody
       18· meeting mentioned to the officer, that she went    18· bending over and putting something in her anal
       19· to headquarters for a meeting.· Officer Luben      19· -- her anal hole that big?
       20· (phonetic) stated: "She said I got bent            20· · ·A.· Yes.
       21· backwards and fucked in the ass for you guys.      21· · ·Q.· That would be considered sexual in
       22· And you guys don't appreciate shit that I do."     22· nature?
       23· · ·And somewhere towards the end she said:· "I     23· · ·A.· Yes.
       24· got more ball than my balls is that big."· To      24· · ·Q.· And inappropriate?
       25· that extent.· Is that sexual in nature?            25· · ·A.· It's inappropriate.
                                                  Page 122                                                      Page 124
       ·1· · ·A.· Yes.                                        ·1· · ·Q.· Lieutenant Dominguez also made sexual
       ·2· · ·Q.· Is that sexual in nature?                   ·2· overtones, as far as using the quote, "F -- fuck
       ·3· · ·A.· Yes.                                        ·3· word."· Lieutenant Dominguez made comments about
       ·4· · ·Q.· Can you read the next paragraph for me?     ·4· her breast sagging, hanging, or the "headlights
       ·5· · ·A.· Out loud.                                   ·5· are on."· That would be considered sexual in
       ·6· · ·Q.· No, to yourself.                            ·6· nature and inappropriate?
       ·7· · ·A.· Okay.                                       ·7· · ·A.· It's inappropriate.· Yes.
       ·8· · ·Q.· So that states that staff from both the     ·8· · ·Q.· Do you see -- you read this part about
       ·9· 6:00 a.m. to the 2:00 p.m. and the 4:00 p.m.       ·9· Officer Luster -- basically, he said that he
       10· until the 2:00 a.m. were present.· The female      10· was -- he felt compelled to give Lieutenant
       11· officers had a look of disgust· on their face.     11· Dominguez hugs?
       12· Officer Luben stated, he felt uncomfortable, but   12· · ·A.· Yes.
       13· did not say anything, because he feared being      13· · ·Q.· And sometimes he did didn't want to, but
       14· retaliated against, or being on Lieutenant         14· he felt compelled to.· That would be
       15· Dominguez's hit list again.· You saw that?         15· inappropriate, correct?
       16· · ·A.· Yes.                                        16· · ·A.· Absolutely.
       17· · ·Q.· The female officers had a look of disgust   17· · ·Q.· Could you read this last paragraph?
       18· on their face.                                     18· · ·A.· Out loud?
       19· · ·Is that similar to the case with                19· · ·Q.· No.· Read it to yourself.
       20· Ms. Christian, where Frasier said that             20· · ·So that paragraph that you just read was an
       21· Ms. Christian had a look of disgust on her face    21· officer recalling an incidence where Lieutenant
       22· after talking to Mr. Fulford; is that correct?     22· Dominguez and other female employees were joking
       23· · ·A.· Yes.                                        23· about another female employee?
       24· · ·Q.· So do you see this where it says Officer    24· · ·A.· Yes.
       25· Luster often observed Lieutenant Dominguez         25· · ·Q.· And that would be inappropriate, correct?


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       ·1· · ·A.· Yes.                                        ·1· Dominguez.· But previously we went through these
       ·2· · ·Q.· So going through all of these               ·2· allegations.· There was allegations of
       ·3· allegations, would you agree with me that          ·3· inappropriate behavior?
       ·4· there's a lot of support or witness statements     ·4· · ·A.· I think regarding Officer Hernandez I
       ·5· indicating that Lieutenant Dominguez did, in       ·5· would have to look at everything in totality.
       ·6· fact, make sexual comments?                        ·6· But I believe it was one person that made that
       ·7· · ·A.· She made inappropriate gestures.· Yes.      ·7· statement.
       ·8· · ·Q.· What about sexual comments?                 ·8· · ·Q.· And is one person saying that they're
       ·9· · ·A.· Sexual connotations that in concluded       ·9· uncomfortable enough for you to say that is
       10· genital.                                           10· something that should not happen in the work
       11· · ·Q.· So she made sexual comments?                11· place?
       12· · ·A.· Yes.                                        12· · ·A.· If that person made it known to the
       13· · ·Q.· Okay.· So one of the allegations that we    13· Lieutenant.· So there's more to it.· If the
       14· -- is -- on various occasions Lieutenant           14· Lieutenant -- we're a very hugging department.
       15· Dominguez engage in unprofessional conduct by      15· I could walk into the facility right now, and
       16· open kissing, hugging, pinching and squeezing      16· I'll hug half -- everybody that comes up and
       17· Officer Hernandez and creating an uncomfortable    17· says hi to me.
       18· working environment for other staff?               18· · ·If someone were to come up to tell me hey,
       19· · ·A.· Yes.                                        19· you know, at the time -- assistant director,
       20· · ·Q.· That allegation was sustained by the        20· deputy director, do not do that.· That makes me
       21· panel, correct?                                    21· feel uncomfortable, I would be on notice.· But
       22· · ·A.· Okay.                                       22· if everyone is coming up and hugging me and no
       23· · ·Q.· Correct?                                    23· one is saying anything, I would not know it was
       24· · ·A.· Yes.· Yes.                                  24· inappropriate.· If one individual mentions it,
       25· · ·Q.· In your letter, dated July 13th, 2011 --    25· but never says anything, it's hard to say that
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       ·1· · ·A.· Yes.                                        ·1· she continued to do it.
       ·2· · ·Q.· -- to the director -- you disagreed with    ·2· · ·Q.· But what about in the case of Officer
       ·3· that recommendation for sustained.                 ·3· Christian?· Because she never went to IA.· IA
       ·4· · ·A.· Okay.                                       ·4· went to her.
       ·5· · ·Q.· And stated that you recommend not           ·5· · ·A.· That's correct.
       ·6· sustained, correct?                                ·6· · ·Q.· So wouldn't it had been her
       ·7· · ·A.· Is this the same?                           ·7· responsibility to come forward and make a
       ·8· · ·Q.· I don't know.· I'd like to look at this     ·8· statement?
       ·9· document.· Just in case.                           ·9· · ·A.· Not necessarily if she felt
       10· · ·A.· Yes.· It says not sustained.                10· uncomfortable.
       11· · ·Q.· And could you read that?                    11· · ·However, in this case it wasn't that the
       12· · ·A.· I did not find sufficient and, or           12· staff went.· There was an anonymous letter.· So
       13· consistent fact testimony to sustain this          13· it was almost kind of· the same thing.· A staff
       14· allegation.· Furthermore, Officer Hernandez did    14· member went to IA.· There was an anonymous
       15· not make inappropriate behavior to commented to    15· letter sent, and then the investigation spun
       16· him by Lieutenant Dominguez.                       16· from that anonymous letter calling people in.
       17· · ·Q.· So this allegation has to do with           17· No one went directly to IA in this case either.
       18· creating an uncomfortable work environment for     18· · ·Q.· So then it's similar to Mr. Fulford?
       19· staff?                                             19· · ·A.· It's similar to that.· Yes.
       20· · ·A.· Yes.                                        20· · ·Q.· Okay.· Great.
       21· · ·Q.· And here you are writing that Officer       21· · ·A.· Let me say -- it's similar in how it was
       22· Hernandez denied engaging in inappropriate --      22· initiated.· But the difference is, with
       23· that he denied -- I'm sorry.· I can't read that.   23· Christian, she's the one that was specifically,
       24· · ·A.· Any inappropriate behavior commented --     24· personally, sexually harassed.· And you don't
       25· · ·Q.· Commented towards him by Lieutenant         25· have that in this case.· That's the difference.


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       ·1· · ·Q.· Well, someone must have sent something      ·1· · ·Q.· But you would agree with me that if nine
       ·2· like you said to IA, to get Ms. Dominguez's        ·2· out of ten people in a room don't feel offended
       ·3· investigation started.· So --                      ·3· by those comments, but one person does, it's
       ·4· · ·A.· Yes.                                        ·4· inappropriate to say?
       ·5· · ·Q.· So something must've been done by           ·5· · ·A.· The comment was -- that's correct.· Those
       ·6· Lieutenant Dominguez to either someone or to       ·6· comments were inappropriate.· I believe those
       ·7· make someone feel uncomfortable, which prompted    ·7· allegations were sustained.
       ·8· an --                                              ·8· · ·Q.· So there's a couple of separate
       ·9· · ·A.· Investigation.                              ·9· allegations that discuss a hostile work
       10· · ·Q.· -- investigation.                           10· environment, that separate discussed
       11· · ·A.· What I'm saying is, I forgot what the       11· unprofessional, sexual comments about her breast
       12· person's name is, that they said they felt         12· and things of that nature.
       13· uncomfortable, and they saw Lieutenant Dominguez   13· · ·Why roll all of those into one allegation?
       14· hugging on that officer.· I forget that.· If       14· · ·A.· For at administrative expediency. I
       15· that officer's came and said, you know, she        15· actually went -- I remember that I went to
       16· hugged me and she was touching me                  16· senior legal advisor and· asked him can I do
       17· inappropriately and I told her to stop, that's     17· this if -- instead of saying -- she said my
       18· different than someone saying I see something,     18· balls were bigger one day or my testicles were
       19· and it's making me feel uncomfortable, and they    19· bigger than mine - or I have bigger ones than
       20· let that person know.                              20· yours.· All of this to me was the same thing.
       21· · ·Q.· I think I understand what you're saying.    21· It was all inappropriate remarks.· So instead of
       22· · ·A.· Okay.                                       22· saying my balls were bigger on this day, and my
       23· · ·Q.· Correct me if I'm wrong, you're saying      23· testicles were bigger on this day.· I have
       24· that if someone -- that there is a difference      24· bigger ones.· Can I roll them all into one for
       25· between someone being --                           25· expediency, and he said yes, you can.· So that
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       ·1· · ·A.· The target.                                 ·1· is the only reason it was put together.
       ·2· · ·Q.· -- the target of something and someone      ·2· · ·Q.· But what about, like, her genitals --
       ·3· witnessing something?                              ·3· the sexual advances and requests for sexual
       ·4· · ·A.· Yes.                                        ·4· favors?
       ·5· · ·Q.· And being a -- what I'll call a secondary   ·5· · ·Those are similar.· Why not for Mr. Fulford,
       ·6· target?                                            ·6· combine those into one?
       ·7· · ·A.· Yes.· And it's still inappropriate          ·7· · ·A.· I did not see the volume of those
       ·8· behavior.· But different levels.                   ·8· allegations in Mr. Fulford's.
       ·9· · ·Q.· Understood.· But what about -- the people   ·9· · ·How many allegations were hearsay?· If you
       10· who are in Ms. Dominguez's case are testifying,    10· would allow me to look at the documents to --
       11· giving statements that they personally witnessed   11· · ·Q.· Sure.· There's fifteen allegations here.
       12· and heard comments that she made in an office      12· · ·A.· And if I could look at the documents to
       13· setting --                                         13· refresh --
       14· · ·A.· Right.                                      14· · ·I think I was just tired of continually
       15· · ·Q.· -- but didn't report it because they're     15· typing the same things.· So I asked, and, you
       16· afraid of her?                                     16· know -- again, administrative expediency -- just
       17· · ·A.· Sure.· And she -- you know, the comments    17· to merge those that were pretty much to me --
       18· that stuck out were -- her description of her      18· that were similar.
       19· getting her butt ripped, and things like that,     19· · ·Q.· Can you tell me -- you investigated this,
       20· and bigger testicles.· Which was -- although the   20· correct, in the same manner that it went through
       21· men felt offended -- it was in essence to males    21· IA, to the disposition panel, up the chain of
       22· and females.· So I don't think she was             22· command?
       23· differential between men and female.· I think      23· · ·A.· The process of commands, yes.
       24· she was just trying to state that in a very        24· · ·Q.· Can you tell me -- well, we already
       25· inappropriate and unprofessional manner.           25· discussed the joining of allegations together.


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       ·1· · ·A.· Yes.                                        ·1· single allegation?
       ·2· · ·Q.· Did -- for example, with regard to          ·2· · ·A.· Well, I think every single allegation had
       ·3· Mr. Fulford, there was -- I believe allegations    ·3· an answer.· But it was rolled on to one.· So
       ·4· about showing some sexually suggestive photos on   ·4· basically she was found guilty of creating a
       ·5· the computer, and then using a computer --         ·5· hostile work environment.
       ·6· inappropriately?                                   ·6· · ·Nine of the allegations, the disposition
       ·7· · ·A.· Inappropriately.                            ·7· panel found· not sustained.· The other ones with
       ·8· · ·Q.· Yes.· So why not combine those two          ·8· the comments were rolled into -- they were
       ·9· allegations together?                              ·9· inappropriate comments and they created a
       10· · ·A.· I can't specifically recall.· I do know     10· hostile work environment.· That was the big
       11· there was a showing of sexual pictures.· And       11· violation.
       12· there was -- I think there might have been a       12· · ·Q.· The --
       13· travel drive introduced into the computer to       13· · ·A.· Creating a hostile work environment.
       14· show pictures.· So that would've been an           14· · ·Q.· As a result of sexual comments?
       15· introduction of external device into -- an         15· · ·A.· As a result of inappropriate comments.
       16· external device -- there was more to -- just the   16· Yes.· Some of them were sexual, and that they
       17· sexual showing.                                    17· dealt with genital.· Talking about balls and
       18· · ·If you brought a travel drive and stuck it in   18· breasts.
       19· a county computer to show your vacation folders,   19· · ·I think part of our struggle was there were
       20· that would still be inappropriate use of a         20· so many different variations of what she may
       21· county computer.                                   21· have said.· So there was not one concrete to say
       22· · ·Q.· So we have here, displayed sexually         22· this is what's being said.· Some people said I
       23· suggestive· photos on a Miami-Dade County          23· heard this.· No.· I didn't hear that.· I heard
       24· computer terminal.· And then we have               24· something else.· So there was a lot of different
       25· inappropriate -- I cannot say that word.           25· language and gestures.· So we tried to get away
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       ·1· · ·Inappropriately used a Miami-Dade County        ·1· from specifics.· Because we did not feel we
       ·2· Telecommunication device by displaying sexually    ·2· could go in and win on a specific, she said X,
       ·3· suggestive photos.                                 ·3· Y, Z.· She may have said X, Y, Z or A, B, C, or
       ·4· · ·If you agree that those two are similar in      ·4· which ever one she said was inappropriate and
       ·5· nature, why not combine those two?                 ·5· created a hostile work environment.
       ·6· · ·A.· I don't know.· But I know this was in       ·6· · ·Q.· Understood.· But similar -- similarly to
       ·7· 2009, and this was 2011.· So at some point, you    ·7· Mr. Fulford's case, there was witnesses who said
       ·8· know --                                            ·8· they never witnessed anything.· They never heard
       ·9· · ·Q.· Enough is enough?                           ·9· anything.· And there was some witnesses who said
       10· · ·A.· Enough is a enough.· Yes.                   10· I saw Mr. Fulford, or there was one witness that
       11· · ·Q.· Okay.                                       11· said I saw Mr. Fulford whisper in Officer
       12· · ·A.· And it turns out you've just got to leave   12· Christian's ear.
       13· it the way it is.                                  13· · ·A.· Right.
       14· · ·Q.· Would you agree, though, that allegations   14· · ·Q.· So there's similar he said, she said with
       15· -- the allegations against Lieutenant Dominguez    15· regard to Mr. Fulford, that there is with regard
       16· came from multiple witnesses as to sexual          16· to Ms. Dominguez, correct?
       17· comments as we discussed?                          17· · ·A.· No.· With the difference that you had the
       18· · ·A.· Yes.                                        18· one affected individual come forward, whether
       19· · ·Q.· So would you agree that allegations of      19· she went individually or not.· She testified
       20· sexual conduct and comments are serious?           20· that he did X, Y, Z to me.· There was a
       21· · ·A.· Yes.                                        21· sustained that he retaliated against her.· There
       22· · ·Q.· Okay.· If these comments are -- if these    22· was no similar retaliation found in this
       23· allegations are that serious, why are we rolling   23· particular case that was sustained.· So you had
       24· into one -- I understand for efficiency            24· a victim, an identified victim in Mr. Fulford's
       25· purposes.· But why not give an answer to every     25· case.· Where here, you have individuals who


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       ·1· should not have been subjected to a hostile work   ·1· labor management recommended a 30-day
       ·2· environment with the profanity and comments.       ·2· suspension, do you think it's too much, too
       ·3· · ·Q.· So where we're saying there's a victim in   ·3· little of a discipline based on all of the
       ·4· Mr. Fulford's case.· And then there's people       ·4· witnesses that came forward with the information
       ·5· that heard inappropriate comments and witnessed    ·5· about Ms. Dominguez?
       ·6· this inappropriate behavior.· Why aren't they      ·6· · ·A.· Once again, labor management extends a
       ·7· considered victims?                                ·7· recommendation based on the sustained findings
       ·8· · ·A.· They are considered victims.· But I think   ·8· of the violations.· So labor management's
       ·9· you'd to a much different level?                   ·9· recommendation is a recommendation based on
       10· · ·Q.· Well, no.· I think what's inappropriate     10· other similar violations.· ·Just based -- just
       11· to someone is inappropriate in how they feel.      11· the violation.· They don't get into a person's
       12· · ·A.· True.                                       12· professional profile, or any mitigating or
       13· · ·Q.· And that's just -- I guess, the             13· aggravating circumstances.· They just go
       14· bottom line.· Like we said, if there's nine        14· straightforward on -- this is a violation.
       15· people in a room that don't feel offended.· But    15· Let's look at the disciplinary history, and the
       16· there is one person that feels offended -- What    16· department, you know, for these violations.
       17· was said or done is considered offensive.          17· This is the range.
       18· · ·A.· Offensive to that person.                   18· · ·Q.· Let me ask you this:· Does it make a
       19· · ·Q.· And shouldn't have been said in that        19· difference if there is three sustained
       20· setting?                                           20· allegations or six sustained allegations as to
       21· · ·A.· Absolutely.· But then you take it a step    21· the punishment?
       22· further if there's someone who said this person    22· · ·A.· It makes more of a difference of the
       23· came to me and retaliated against me because I     23· nature of the sustained allegations, and not the
       24· did not want to engage in sexual behavior, that    24· quantity.· But what the allegations -- the
       25· is sexual harassment in the top degree.            25· violations are.
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       ·1· · ·Q.· Was there ever any recommendation for       ·1· · ·Q.· If there are more violations -- meaning,
       ·2· Ms. Dominguez to be disciplined by receiving a     ·2· sustained -- they're six sustained violations,
       ·3· demotion?                                          ·3· is it possible that the punishment would be
       ·4· · ·A.· I would have to look at what labor          ·4· worse, because there is -- I understand you're
       ·5· management would've -- the basic recommendation.   ·5· saying it's not about quantity, but it's about
       ·6· It may have been demotion.· It mat have been       ·6· the substance of the allegations.· But if there
       ·7· suspension.· I can't recall what it would've       ·7· is -- for example, three allegations rolled into
       ·8· been.                                              ·8· one, and then a separate investigation that has
       ·9· · ·Q.· So Ms --                                    ·9· three allegations, is there a difference?
       10· · · · ·MR. STORCH:· That's the non exhibit.        10· · ·A.· No.· It's not looked at.· That's not
       11· · · · ·MS. MOSELY:· Yes.· This is mine.            11· necessarily something that discipline is going
       12· BY MR. STORCH:                                     12· to be increased or decreased.
       13· · ·Q.· Ms. Dominguez was recommended to receive    13· · ·Q.· So why not for everyone roll similar
       14· a 30-day suspension.                               14· allegations together?
       15· Let me ask you this question; if it is             15· · ·A.· Because once again, in this particular
       16· established that Ms. Dominguez was recommended     16· case -- in 2011, I did it for administrative
       17· to receive a 30-day suspension, do you think       17· expediency.· You know,· maybe I was drowning in
       18· that it's fair that she didn't get recommended     18· paperwork, or whatever.· I wouldn't do it again
       19· for demotion?                                      19· after that case.· I just never did it again. I
       20· · ·A.· Once again, I would have to look at labor   20· never would do it again.
       21· management recommendations.· And it would have     21· · ·Q.· Got it.· So I'm going to show you an
       22· to go based on their recommendation, and then      22· October 17th, 2001 memorandum from you to Tim
       23· the mitigating or aggravating factors.             23· Ryan.· If you could take a look at it.
       24· · ·Q.· When you say you have to look at labor      24· · · · ·MS. MOSELY:· Let me see.
       25· management, you would have to -- assuming that     25· · ·A.· Okay.


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       ·1· BY MR. STORCH:                                     ·1· · ·A.· And I don't see it as quantity.· My thing
       ·2· · ·Q.· ·I'm going to refer you to the end.         ·2· is there were seven sustained, and now there's
       ·3· Sorry.· Not the actual end.                        ·3· five.
       ·4· · ·Well, actually the last page.· It's this        ·4· · ·Q.· And all of them were rolled into one,
       ·5· page.· I don't believe it is apart of it,          ·5· correct?
       ·6· Counsel.                                           ·6· · ·A.· All of them were rolled into one.
       ·7· · ·Actually it is.· Sorry.· I'm going to refer     ·7· · ·Q.· And ultimately a recommendation was made
       ·8· you to what's Defendant's 36.                      ·8· for a five day suspension for Ms. Dominguez; is
       ·9· · ·And in the section recommendation.              ·9· that correct?
       10· · ·Could you read that for me?                     10· · ·Is that amount of days of suspension more or
       11· · ·A.· Sure.· Okay.                                11· less than the recommended suspension for
       12· · ·Q.· So this recommendation states that the      12· Mr. Fulford?
       13· initial disciplinary action recommended            13· · ·A.· Less.
       14· demotion.· It was based on disposition's panel     14· · ·Q.· I'm almost done.· Let's take a break.
       15· recommendation to sustain seven out of the         15· · · · · ·(OFF THE RECORD AT 5:03 P.M.)
       16· fifteen allegation.                                16· · · · ·(BACK ON THE RECORD AT 5:10 P.M.)
       17· · ·Which is a number.                              17· BY MR. STORCH:
       18· · ·A.· Yes.                                        18· · ·Q.· So after Mr. Fulford received or --
       19· · ·Q.· After further review, however, only five    19· strike that.
       20· case allegations were ultimately stained.          20· · ·Mr. Fulford began or continued receiving
       21· Another number.                                    21· exemplary evaluations -- through the time of the
       22· · ·A.· Yes.                                        22· allegations and then afterwards -- are you
       23· · ·Q.· Furthermore, these five case allegations    23· familiar with that?
       24· were ultimately merged into one allegation?        24· · ·A.· No.· But I'll take your word for it.
       25· · ·A.· Yes.                                        25· · ·Q.· Okay.· Only after this alleged
                                                  Page 142                                               Page 144
       ·1· · ·Q.· So that on its face it's talking about      ·1· incident -- I'm just going to close the door.
       ·2· the quantity of allegations.· It had nothing to    ·2· Only after the alleged allegations that were
       ·3· do with the substance of them.                     ·3· made against Mr. Fulford, did he receive written
       ·4· · ·A.· I disagree.· When we're saying based on     ·4· reprimands?
       ·5· the recommendation of seven out of fifteen,        ·5· · ·Are you familiar with that?
       ·6· that's the disposition panel.· And after further   ·6· · ·A.· Not off the top of my head.· No, sir.
       ·7· review we didn't find sufficient merit.· So it     ·7· · ·Q.· Okay.· What is the first level of
       ·8· dropped down to five sustained.· So you're         ·8· discipline?
       ·9· talking about enough on evidence for the           ·9· · ·A.· Actually, written reprimands is the first
       10· findings.                                          10· level of discipline.
       11· · ·Q.· Does it -- this only talks about after      11· · ·Q.· So Mr. Fulford doesn't receive any
       12· further review -- only five allegations were       12· written reprimand throughout his entire
       13· ultimately sustained.                              13· employment up and through -- I believe, it was
       14· · ·A.· And this is after he signs off on it.· So   14· even through the time of these allegations.· And
       15· the difference here is, this would not -- the      15· then all of sudden -- I believe it was sometime
       16· only reason this came from me, is because the      16· in 2012, Officer Christian makes some sort of
       17· reporting chain for Lieutenant Dominguez -- she    17· allegations against Mr. Fulford again.
       18· reported directly to a chief.· And that chief --   18· · ·Are you familiar with this?
       19· yeah.· That chief reported directly to me.· That   19· · ·A.· Keep going.· You might get my memory
       20· chief was involved in the investigation and        20· going.
       21· couldn't do this.                                  21· · ·Q.· Something about Mr. Fulford referring to
       22· · ·Q.· Understood.                                 22· Ms. Christian as the devil?
       23· · ·A.· So I ended up having to do this.            23· · ·A.· Okay.
       24· · ·Q.· Understood.· My point is that we're         24· · ·Q.· Familiar?
       25· talking about the quantity of the allegations.     25· · ·A.· Yeah.· Yes.


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       ·1· · ·Q.· Could you tell me what do you recall        ·1· And it could go both ways.· It could be
       ·2· about that?                                        ·2· Ms. Christian, you know, complained about
       ·3· · ·A.· Just what you said.                         ·3· Mr. Fulford.· And she's upset.· And Mr. Fulford
       ·4· · ·Q.· Were you involved in any investigation as   ·4· is upset, because he doesn't believe the
       ·5· that goes?                                         ·5· allegations to be true.· So upset going both
       ·6· · ·A.· I'm trying to remember.· I know it was      ·6· ways.
       ·7· something about -- I don't know if Mr. Fulford     ·7· · ·A.· Right.
       ·8· was working back at the jail -- went to the        ·8· · ·Q.· Is it troubling at all that these two
       ·9· jail, and they crossed paths or something.· And    ·9· individuals are now having another incident when
       10· Mr. Christian made an allegation.· And I don't     10· there's potential animosity from a prior
       11· know if it was investigated or not.· So -- you     11· incident?
       12· know, if it was investigated, it would've come     12· · ·A.· I mine that's always an issue.· But
       13· to me.· And I think at one point I actually --     13· remember the first case, Christian didn't go to
       14· either not sustained something that they tried     14· IA.· So that makes it more troubling.
       15· to sustained.· I know I took some action on        15· · ·Q.· Was Mr. Fulford put back into a position
       16· Mr. Fulford's behalf.· I didn't find sufficient    16· where Ms. Christian was working?
       17· evidence in what was initially provided.· If I     17· · ·A.· I don't know if he was there permanently
       18· can take the look at it, I might -- it might       18· or working that particular day.· Again, it's
       19· recollect -- but I do remember something like      19· been a little while.· But you cannot --
       20· that in trying to push something, and I did not    20· you know, in a professional environment you
       21· agree with it.· It was in his favor, actually.     21· would hope that individuals are going to act
       22· · ·Q.· In going through that investigation, are    22· professionally.· There are times where if there
       23· you -- or is someone allowed to use prior          23· is some animosity, that we separate folks for a
       24· complaints as evidence against someone?            24· period of 30 days.· You know, speak to them and
       25· · ·A.· Not necessarily evidence.· But if there's   25· try to do mediation.· Depending on circumstances
                                                  Page 146                                               Page 148
       ·1· a similar complaint that's sustained previous to   ·1· or once somebody's been disciplined -- okay.
       ·2· the one that's being looked at, it may act as an   ·2· That should correct prior behavior.· But you
       ·3· aggravator.                                        ·3· can't keep people separate for the rest of their
       ·4· · ·Q.· Understood.· But -- so in this case,        ·4· career.· You would hope that individuals come
       ·5· where it was alleged that he called this officer   ·5· together and be professional.
       ·6· a devil --                                         ·6· · ·Q.· Understood.· In terms of sergeant and
       ·7· · ·A.· Uh-huh.                                     ·7· corporal, there's a pretty decent pay
       ·8· · ·Q.· -- that would not have anything to do       ·8· difference; is that correct?
       ·9· with the prior sexual allegations?                 ·9· · ·A.· There is.
       10· · ·A.· No.· Just -- if she's complaining, and      10· · ·Q.· And in term of progressing and getting
       11· she was found to be credible before -- if he was   11· salary increases and bonuses, if there are any,
       12· found to not to be credible.· That not be looked   12· that is different -- greater at the sergeant
       13· at in the investigative portion.· That would be    13· level, than it would be at the corporal level?
       14· looked at by -- maybe the disposition panel and    14· · ·A.· The opportunities are the same for any
       15· later on for discipline.                           15· increase in salary.
       16· · ·Q.· Understood.                                 16· · ·Q.· But you would be making less money even
       17· · ·A.· Credibility.                                17· with that same increase as a corporal --
       18· · ·Q.· Got it.· Was it troubling that the same     18· · ·A.· Yeah.· The salaries are different.· The
       19· person was -- that previously complained about     19· opportunities are the same.
       20· Mr. Fulford was complaining again about            20· · ·Q.· What is the cap for salary at the
       21· Mr. Fulford?                                       21· corporal, if you know?
       22· · ·A.· Was it troubling?· In what sense?           22· · ·A.· I have no clue, sir.
       23· · ·Q.· In the sense that it's obvious that there   23· · ·Q.· Same thing for the sergeant level?
       24· was an issue, one way or another beforehand.       24· · ·A.· None at all.
       25· That someone had a problem with the other one.     25· · ·Q.· Are you aware that Mr. Fulford went to


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       ·1· the EOC and complained of gender discrimination,   ·1· someone's file, and they identify if there's
       ·2· as well as retaliation?                            ·2· been a prior sustained allegation that they
       ·3· · ·A.· Yes.                                        ·3· could take that into consideration as -- again,
       ·4· · ·Q.· Do you know what the EOC found as it        ·4· a mitigating or an aggravating.
       ·5· relates to these allegations?                      ·5· · ·Q.· Because in the investigation -- the
       ·6· · ·A.· No.· It was never presented officially to   ·6· investigator notes that Officer Christian filed
       ·7· me.                                                ·7· a complaint of sexual harassment against
       ·8· · ·Q.· The EOC actually found that there was --    ·8· Sergeant Fulford, which was assigned to Sergeant
       ·9· they found cause that there was a -- that          ·9· Boom for investigation.· But that had no reason
       10· discrimination against Mr. Fulford did take        10· to be in there, because there was no reason --
       11· place.· That specifically based on his gender he   11· it specifically states here that it was sexual
       12· was treated differently.· Worse.                   12· harassment, which is completely different than
       13· · ·Are you -- I assume that you disagree with      13· calling someone you know, the devil.
       14· that?                                              14· · ·A.· Right.· I guess it gives you reason as to
       15· · · · ·MS. MOSELY:· Objection.· Form.· You can     15· what would've motivated him to make that
       16· answer.                                            16· comment.
       17· · ·A.· Absolutely.                                 17· · ·Q.· So then, it would seem to me that putting
       18· BY MR. STORCH:                                     18· that in there could only be harmful to
       19· · ·Q.· Just give me two minutes with               19· Mr. Fulford?
       20· Mr. Fulford.                                       20· · ·A.· It's a fact that it was in there, and as
       21· · · · · ·(OFF THE RECORD AT 5:21 P.M.)             21· to whether the panel can take it into
       22· · · · ·(BACK ON THE RECORD AT 5:25 P.M.)           22· consideration.
       23· BY MR. STORCH:                                     23· · ·Q.· Is there anyway with that being in the
       24· · ·Q.· Okay.· When we were talking about the       24· investigation, that that can be taken in a
       25· devil comment --                                   25· positive way for Mr. Fulford?
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       ·1· · ·A.· Uh-huh.                                     ·1· · ·A.· No.· But it's just a fact.
       ·2· · ·Q.· -- Being made -- when you had mentioned     ·2· · ·Q.· Also, where it says Officer Christian
       ·3· that you recall that you may have done something   ·3· filed a complaint of sexual harassment --
       ·4· for Sergeant -- or Mr. Fulford.                    ·4· · ·A.· Uh-huh.
       ·5· · ·A.· Uh-huh.                                     ·5· · ·Q.· -- that's not accurate based on Officer
       ·6· · ·Q.· What was done?· Because he ultimately       ·6· Christian's testimony; is that correct?
       ·7· received a DAR.                                    ·7· · ·A.· Meaning?
       ·8· · ·A.· Uh-huh.                                     ·8· · ·Q.· She didn't file a complaint, and that IA
       ·9· · ·Q.· -- the sustained the allegations.           ·9· --
       10· · ·A.· I don't know if it was -- I would have to   10· · ·A.· No.· There was --
       11· look at the recommended level of discipline in     11· · · · ·MS. MOSELY:· Objection to the form.· You
       12· the case.· Because -- I know -- I don't know if    12· can answer.
       13· they had initially tried to sustain something      13· · ·A.· There was a complaint about sexual
       14· that they disagreed with, or they wanted to        14· harassment regarding Officer Christian.· She did
       15· issue a higher level of discipline.                15· not initiate it. But there was a sexual
       16· · ·I don't know.· But I did find that it was       16· harassment complaint.· Saying that she filed it
       17· just not appropriate for initially what they       17· actually works against her.· You would think,
       18· were willing to do.                                18· okay.· She files this, and now she's filing
       19· · ·Q.· And we also talked a little bit -- when     19· something else.· It's kind of like the scenario
       20· we were talking about these comments, that there   20· you were saying.· She keeps doing this, because
       21· would be no reason to bring up the prior case,     21· she wants to make this guy's life miserable or
       22· because it was completely unrelated to the         22· what --
       23· allegations of this investigation?                 23· · ·Q.· But that would only be the case if the
       24· · ·A.· Right.· The reviewing folks actually        24· allegations were not sustained.· Meaning, the
       25· would look at it.· It would be when you get        25· complaint that she filed -- even though she


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       ·1· didn't file one with allegations against           ·1· · ·A.· No.· I do not.
       ·2· Mr. Fulford -- if those were investigated and      ·2· · ·Q.· You were asked some questions concerning
       ·3· found to have no merit, and then she filed         ·3· a document that I don't believe you were shown.
       ·4· another complaint, then would you agree with me    ·4· But it was pertaining to the transfer of
       ·5· that that would be the scenario where it would     ·5· Ms. Dominguez for a sexual harassment
       ·6· be against Officer Christian?                      ·6· allegation.
       ·7· · ·A.· I could see both ways.· I guess -- again,   ·7· · ·Can you tell me what rank is Ms. Dominguez?
       ·8· that's a fact.· The way they put in there --       ·8· · ·A.· She's a lieutenant.
       ·9· there was a fact that it was sexual harassment.    ·9· · ·Q.· And she was a lieutenant at the time of
       10· A prior case.· That's all it is.· It's stating a   10· the transfer?
       11· fact.                                              11· · ·A.· Yes, ma'am.
       12· · ·Q.· And saying that -- it's not in anyway       12· · ·Q.· Is there any reason that a lieutenant
       13· helpful, is it, to Mr. Fulford?                    13· might not be restricted to a particular shift in
       14· · ·A.· I don't think it's helpful or harmful.      14· a transfer memo?
       15· It's just a fact.                                  15· · ·A.· Giving it some thought, that language
       16· · ·Q.· Got it.· Do you know how Mr. Fulford is     16· restricting a lieutenant to a specific
       17· treated now at work?                               17· assignment would not be included, because a
       18· · ·A.· I don't.· I know he has said he's not       18· lieutenant can only work the assignment they're
       19· treated -- that people look at him funny. I        19· assigned, compared to a sergeant, corporal,
       20· don't know personally.                             20· officer, they can work various assignments on
       21· · ·Q.· Someone looking at someone funny; isn't     21· overtime.· Lieutenants cannot work overtime.· So
       22· that kind of similar to someone looking at         22· a lieutenant would not be able to work anywhere
       23· someone -- like, we were talking with Officer      23· but the assigned location.
       24· Christian, in her complaint; isn't that similar?   24· · ·Q.· Okay.· And so what would be the reason
       25· · ·A.· Okay.· You totally lost me on that.· I'm    25· that the shift restriction would be included in
                                                  Page 154                                               Page 156
       ·1· sorry.                                             ·1· Officer Fulford's memo?
       ·2· · ·Q.· So Officer -- if Mr. Fulford is saying      ·2· · ·A.· Location or shift or specific
       ·3· that people are looking at him funny, and          ·3· restrictions would be to make sure that
       ·4· wouldn't that be the same as the look on           ·4· everybody understood that he could not be hired
       ·5· someone's face after a comment was made?           ·5· to work any other location -- as specified in
       ·6· Because if people are looking at someone in a      ·6· the transfer.
       ·7· different way?                                     ·7· · ·Q.· You were shown a transcript from an
       ·8· · ·A.· I don't quite see how that -- I'm not       ·8· arbitration.· I don't think that was marked as
       ·9· sure what you are asking -- to be honest.          ·9· an exhibit.
       10· · ·Q.· Okay.· That's fine.                         10· · ·But you were asked about the testimony of
       11· · ·A.· I'm not sure.                               11· Officer Christian.
       12· · ·Q.· Okay.· That's fine.· Not a problem.         12· · ·Just to be clear, were you present at the
       13· · ·Do you have any reason to believe that          13· arbitration in this matter?
       14· Mr. Fulford is lying when he says that he's        14· · ·A.· No.· Not for her testimony, no.
       15· being treated differently?                         15· · ·Q.· And the testimony that you read from, was
       16· · ·A.· I have no reason to believe he's lying.     16· that your testimony?
       17· · ·Q.· I have no further questions.                17· · ·A.· No.· That was not.
       18· · · · ·MS. MOSELY:· I have a few questions.        18· · ·Q.· Okay.· That was testimony of whom?
       19· · · · · · · · ·CROSS EXAMINATION                   19· · ·A.· I believe Officer Christian.
       20· BY MS. MOSELY:                                     20· · ·Q.· Okay.· And when you were asked questions
       21· · ·Q.· Ms. Guevara, when did you retire from the   21· while you were being shown that document, you
       22· County?                                            22· were answering, essentially, what the document
       23· · ·A.· May 31st of 2016.                           23· said, correct?
       24· · ·Q.· Do you have any firsthand knowledge about   24· · ·A.· Yes, ma'am.
       25· how Mr. Fulford is treated at work today?          25· · ·Q.· Okay.· Do you have any firsthand


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       ·1· knowledge about what took place at that            ·1· · ·Q.· No further questions.
       ·2· arbitration?                                       ·2· · · · ·MS. MOSELY:· I don't have anything else.
       ·3· · ·A.· No, ma'am.                                  ·3· Thank you.
       ·4· · ·Q.· And I believe your memorandum, which is     ·4· · · · ·MR. STORCH:· I assume you guys are
       ·5· Exhibit No. 2.· That memo is dated September       ·5· reading?
       ·6· 4th, 2009?                                         ·6· · · · ·MS. MOSELY:· Yes.· We are reading.
       ·7· · ·A.· Yes, ma'am.                                 ·7· · · · ·MR. STORCH:· I'm not ordering.
       ·8· · ·Q.· The arbitration concerning Mr. Fulford,     ·8· · · · ·MS. MOSELY:· Actually, I'll let you know.
       ·9· did that arbitration happen before or after your   ·9· I'll take a copy if it's ordered.
       10· memo?                                              10· · · · · · · · ·****************
       11· · ·A.· The arbitration happened after my memo.     11
       12· · ·Q.· Okay.· I don't have anything else.          12
       13· · · · ·MR. STORCH:· I just are have a follow-up.   13
       14· · · · · · · ·REDIRECT EXAMINATION                  14
       15· BY MR. STORCH:                                     15
       16· · ·Q.· With regard to the restriction to           16
       17· Mr. Fulford, the restriction to a specific         17
       18· building -- and restricting Mr. Fulford to a       18
       19· specifically building -- that would have meant     19
       20· that he wasn't going to come in contact with       20
       21· Officer Christian -- at least until the            21
       22· investigation was done, correct?                   22
       23· · ·A.· That's correct.                             23
       24· · ·Q.· But prior to the allegations, which would   24· (Reading and signing of the deposition was
       25· be prior to the transfer.· Was Mr. Fulford able    25· waived by the witness and all parties.)
                                                  Page 158                                                 Page 160
       ·1· to work overtime?                                  ·1· · · · · · · · CERTIFICATE OF OATH
                                                              ·2
       ·2· · ·A.· I -- I'm not aware of any restrictions.
                                                              ·3
       ·3· · ·Q.· Subsequent to his transfer where he was
                                                              ·4· STATE OF FLORIDA
       ·4· told that he was only limited to a specific
                                                              ·5· COUNTY OF DADE
       ·5· shift -- was Mr. Fulford able to work overtime?
                                                              ·6
       ·6· · ·A.· I don't know.· But limited to a certain     ·7
       ·7· shift or location?                                 ·8
       ·8· · ·Can I look at the transfer order?               ·9· · · · ·I, Stacy A. Boffman, Florida Reporter,
       ·9· · ·Q.· So reading the March 26th, 2009 document    10· Notary Public, State of Florida, certify that
       10· that you drafted, would you agree that             11· MARYDELL GUEVARA personally appeared before me
       11· Mr. Fulford was limited to a specific location,    12· on the 5th day of August, 2016, and was duly
       12· as well as a specific shift?                       13· sworn.
       13· · ·A.· List of assignment -- no.· He could still   14

       14· work different shifts.· And he could definitely    15
                                                              16
       15· work on his days off on that shift.· It refers
                                                              17
       16· more to the actual location than the shift.
                                                              18· · · · ·Signed this 19th day of August, 2016
       17· · ·Q.· How --
                                                              19
       18· · ·A.· I'm sorry.
                                                              20
       19· · ·Q.· Could you read this highlighted line for    21· · · · ·__________________________________
       20· me?                                                22· · · · ·Stacy A. Boffman
       21· · ·A.· Until further notice Sergeant Fulford is    · · · · · ·Notary Public, State of Florida
       22· restricted to the listed assignment.               23· · · · ·Commission No.1037789
       23· · ·Q.· So that would mean that he's restricted     · · · · · ·Commission Expires: February 12, 2017
       24· to the assignment in this memorandum, correct?     24
       25· · ·A.· Yes.                                        25



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       ·1· · · · · · · CERTIFICATE OF REPORTER
       ·2
       ·3· STATE OF FLORIDA
       ·4· COUNTY OF DADE
       ·5
       ·6· · · · ·I, STACY A. BOFFMAN, Florida Reporter,
       ·7· certify that I was authorized to and did
       ·8· stenographically report the deposition of
       ·9· MARYDELL GUEVARA, pages 1 through 159; that a
       10· review of the transcript was not requested; and
       11· that the transcript is a true record of my
       12· stenographic notes.
       13
       14· · · · ·I further certify that I am not a
       15· relative, employee, attorney, or counsel of any
       16· of the parties, nor am I a relative or employee
       17· of any of the parties' attorneys or counsel
       18· connected with the action, nor am I financially
       19· interested in the action.
       20· · · · ·Dated this 19th day of August 2016.
       21
       22
       23· · · · ·____________________________________
       24· · · · · ·Stacy A. Boffman
       · · · · · · Florida Reporter
       25




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